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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAI‘I
   NATIONAL ASSOCIATION FOR   Civil No. 1:22-cv-404-DKW-RT
   GUN RIGHTS; RONDELLE AYAU;
   JEFFREY BRYANT,
                              DECLARATION OF ROBERT J
            Plaintiffs,       SPITZER

         v.

   ANNE E. LOPEZ, in her official
   capacity as Attorney General for the
   State of Hawai‘i,

               Defendant.




                  DECLARATION OF ROBERT J. SPITZER




                  ATTACHMENT "1"

                            EXHIBIT "7"
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                     DECLARATION OF ROBERT J. SPITZER

        I, Robert J. Spitzer, declare under penalty of perjury that the following is true

 and correct:

        1.      I have been asked to render an opinion on the history of firearms

 restrictions, including those enacted in the early twentieth century and earlier,

 addressing machine guns (fully automatic firearms), semiautomatic firearms, and

 ammunition feeding devices, and tracing those regulations back to earlier hardware

 and use restrictions on other types of weapons enacted in the nineteenth century and

 earlier.

        2.      This declaration is based on my own personal knowledge and

 experience, and if I am called to testify as a witness, I could and would testify

 competently to the truth of the matters discussed in this declaration.

        3.      I have been retained by Office of the Attorney General for the State of

 Hawai‘i to render expert opinions in this case. I am being compensated at a rate of

 $500 per hour for consultation, research, writing, and preparation, and $750 per

 hour for testimony in addition to reimbursement for reasonable travel costs and

 $500 per day for travel.

                     BACKGROUND AND QUALIFICATIONS

        4.      I am a Distinguished Service Professor of Political Science Emeritus at

 the State University of New York at Cortland. I was also a visiting professor at

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 Cornell University for thirty years. I earned my Ph.D. in Government from Cornell

 University. I reside in Williamsburg, Virginia. A copy of my curriculum vitae is

 attached to this Declaration as Exhibit A.

       5.     I have been studying, teaching, and writing about gun policy for over

 thirty years. My first publication on the subject appeared in 1985. Since then, I

 have published six books and over one hundred articles, papers, and essays on gun

 policy. My expertise includes the history of gun laws, gun policy in American

 politics, and related historical, legal, political, and criminological issues. My book,

 The Politics of Gun Control, has been in print since its initial publication in 1995.

 It examines firearms policy in the United States through the lenses of history, law,

 politics, and criminology. The eighth edition of the book was published in 2021 by

 Routledge Publishers. My two most recent books on gun policy, Guns Across

 America (Oxford University Press, 2015) and The Gun Dilemma (Oxford

 University Press, 2023), both deal extensively with the study of historical gun laws.

 I am frequently interviewed and quoted in the national and international media on

 gun-related matters. For over twenty years, I have been a member of the National

 Rifle Association and of Brady (formerly, the Brady Campaign to Prevent Gun

 Violence).

       6.     I have provided written testimony as an expert witness in Worman v.

 Healey, No. 1:17-10107-WGY (D. Mass.), which concerned the constitutionality of


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 Massachusetts’ restrictions on assault weapons. I have co-authored amicus briefs in

 numerous cases, including Nordyke v. King, U.S. Court of Appeals, Ninth Circuit,

 319 F.3d 1185 (2003); Republic of Iraq et al. v. Beaty et. al., U.S. Supreme Court,

 556 U.S. 848 (2009); McDonald v. Chicago, U.S. Supreme Court, 561 U.S. 742

 (2010); Ezell v. Chicago, U.S. Court of Appeals for the Seventh Circuit, 651 F.3d

 684 (2011); and People of the State of Illinois v. Aguilar, Illinois Supreme Court,

 No. 08 CR 12069 (2012). I have also been invited to submit written testimony and

 serve as an expert witness in the following cases: Hanson v. District of Columbia,

 Civil Action No. 1:22-cv-02256-RC (D.D.C.); Brumback v. Ferguson, No. 22-cv-

 3093 (E.D. Wash.); Sullivan v. Ferguson, Case No. 3:22-cv-05403-DGE (W.D.

 Wash.); Miller v. Bonta, No. 3:19-cv-1537 (S.D. Cal.); Duncan v. Bonta, No. 17-

 cv-1017 (S.D. Cal.); Fouts v. Bonta, 19-cv-1662-BEN (S.D. Cal.); Rupp v. Bonta,

 No. 8:17-cv-00746-JLS-JDE (C.D. Cal.); Gates et al. v. Polis, 2022-cv-01866 (D.

 Colo.); Oakland Tactical Supply LLC v. Howell Township, Case No.: 18-cv13443

 (E.D. Mich.); State v. Misch, No. 173-2-19 Bncr (Bennington County Criminal

 Case) in Vermont Superior Court; National Association for Gun Rights, Inc. v. City

 of Highland Park, 22- cv-4774 (N.D. Ill.); Abbott et al. v. Lopez, Civil Action No.

 20-00360 (RT) (D. Haw.); Santucci v. Honolulu et al., 1:22-cv-00142-DKW-KJM

 (D. Haw.); and Yukutake v. Lopez, 1:22-cv-00323-JAO-KJM (D. Haw.).




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       7.     I have also presented written testimony to the U.S. Congress on “The

 Second Amendment: A Source of Individual Rights?” submitted to the Judiciary

 Committee, Subcommittee on the Constitution, Federalism, and Property Rights,

 U.S. Senate, Washington, D.C., September 23, 1998; “Perspectives on the ‘Stand

 Your Ground’ Movement,” submitted to the Judiciary Committee, Subcommittee

 on the Constitution, Civil Rights and Human Rights, U.S. Senate, Washington,

 D.C., October 29, 2013; and “The Hearing Protection Act to Deregulate Gun

 Silencers,” submitted to Committee on Natural Resources, Subcommittee on

 Federal Lands, the U.S. House of Representatives, Hearings on the Sportsmen’s

 Heritage and Recreational Enhancement Act (SHARE Act), Washington, D.C.,

 September 12, 2017.

                            SUMMARY OF OPINIONS

       8.     Gun ownership is as old as America, but so are gun laws. From the

 1600s through the early twentieth century, the colonies, states and localities enacted

 literally thousands of gun laws of every imaginable variety. In this document, I

 demonstrate that a specific relationship existed between the development of new

 weapons technologies, their spread into society, and regulation by the government

 as part of a centuries-long effort to protect the public from harm and to dampen

 weapons-related criminality and violence. The pattern of criminal violence and

 concerns for public safety leading to weapons restrictions, as seen in contemporary


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 restrictions on assault weapons and large capacity magazines, is not new; in fact, it

 can be traced back throughout the Nation’s history.

       9.     I examine a number of specific examples of weapons that, when they

 were invented or developed and then made their way into civil society, were subject

 to governmental restriction. The examples include restrictions on fully automatic

 (most famously the Tommy gun) and semi-automatic firearms, detachable

 ammunition feeding devices, both from the early twentieth century; analysis of

 experimental multi-shot firearms dating back several hundred years, and of multi-

 shot firearms that proved more successful, including Colt revolvers and Winchester

 rifles; Bowie and similar long-bladed fighting knives; clubs and other blunt

 weapons; anti-concealed carry laws; and restrictions on “trap guns.” Firearms and

 other dangerous weapons were subject to remarkably strict, consistent, and wide-

 ranging regulation throughout our history when they entered society, proliferated,

 and resulted in violence, harm, or contributed to criminality. This historical record

 is even more remarkable given that the United States was an evolving and

 developing nation-state that could not claim to have reached maturity until the

 twentieth century. The historical record summarized here makes clear that

 contemporary restrictions among the states pertaining to assault weapons and large

 capacity ammunition magazines are merely the latest iteration of a centuries-long

 tradition of weapons regulations and restrictions.


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 I.   INTRODUCTION

       10.    The current controversy surrounding legislative efforts to restrict semi-

 automatic assault weapons, including assault pistols, and large capacity magazines

 would seem to be a purely contemporary matter, responding to the modern

 phenomenon of mass shootings. The effort to restrict such weapons was sparked in

 part by a shooting at an elementary school in Stockton, California in 1989, when a

 man armed with an AK-47 and a handgun killed five children and wounded thirty-

 three others. Later that year, California enacted the first assault weapons ban in the

 country. Five years later, Congress enacted a ten year ban.1 As of this writing,

 nine states plus the District of Columbia have similar bans in place, as do various

 localities around the country. 2 These jurisdictions represent approximately 101


 1
   Robert J. Spitzer, The Politics of Gun Control, 8th ed. (NY: Routledge, 2021), 25-
 26, 205-11.
 2
   Giffords Law Center, Assault Weapons, https://giffords.org/lawcenter/gun-
 laws/policy-areas/hardware-ammunition/assault-weapons/; Robert J. Spitzer, The
 Gun Dilemma (NY: Oxford University Press, 2023), 14-15. The ten American
 jurisdictions with assault weapons bans are: California, Connecticut, Delaware, the
 District of Columbia, Hawaii, Illinois, Maryland, Massachusetts, New Jersey, and
 New York. Illinois enacted its law, including an LCM limit, in early 2023. C.
 Mandler, “Illinois governor signs ban on assault weapons and high-capacity
 magazines,” CBS News, January 10, 2023, https://www.cbsnews.com/news/illinois-
 governor-signs-ban-on-assault-weapons-and-high-capacity-magazines/. The U.S.
 House of Representatives passed a renewed federal assault weapons ban with
 magazine limitations in 2022 (H.R. 1808, 117th Cong. (2022)). Delaware enacted
 its assault weapons and large-capacity magazine restrictions in June 2022. See
 Governor Carney Signs Package of Gun Safety Legislation (June 30, 2022),
 https://news.delaware.gov/2022/06/30/governor-carney-signs-package-of-gun-
 safety-legislation/.
                                           6
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 million people, or approximately 30.3% of the U.S. population.3 Fourteen states

 plus the District of Columbia restrict large capacity magazines (LCMs). 4 These

 jurisdictions represent more than 115 million individuals, or approximately 34.5%

 of the U.S. population. 5 And in 2022, the U.S. House of Representatives passed a

 renewed nationwide assault weapons ban with LCM restrictions. 6

       11.    These recent efforts to restrict assault weapons and LCMs are simply

 the latest chapter in a centuries-long effort to promote public safety, protect the


 3
   See U.S. Census, National Population Totals and Components of Change: 2020-
 2022, https://www.census.gov/data/tables/time-series/demo/popest/2020s-national-
 total.html#par_textimage_2011805803 (2022 state population estimates). The total
 population in these jurisdictions is estimated to be 101,000,000 out of a U.S. total of
 about 333,000,000.
 4
   Giffords Law Center, Large Capacity Magazines,
 https://giffords.org/lawcenter/gun-laws/policy-areas/hardware-ammunition/large-
 capacity-magazines/; Spitzer, The Gun Dilemma, 30. The fifteen jurisdictions are
 California, Colorado, Connecticut, Delaware, the District of Columbia, Hawaii,
 Illinois, Maryland, Massachusetts, New Jersey, New York, Oregon, Rhode Island,
 Vermont, and Washington. With two exceptions (Colorado and Delaware), all of
 these restrictions impose a ten-round limit on magazines, as did the 1994 federal
 law. Hawaii’s restrictions apply to only handguns. The Illinois and Vermont laws
 limits magazines for long guns to ten rounds, and handguns to fifteen. Illinois' and
 Oregon's laws are currently subject to a temporary restraining order and a
 preliminary injunction, respectively, issued by state trial courts on state
 constitutional grounds.
 5
   U.S. Census, National Population Totals and Components of Change: 2020-2022,
 https://www.census.gov/data/tables/time-series/demo/popest/2020s-national-
 total.html#par_textimage_2011805803 (2022 state population estimates). The total
 population in these jurisdictions is estimated to be over 115,000,000 out of a U.S.
 total of about 333,000,000. In 2022, the U.S. House of Representatives passed a
 renewed nationwide assault weapons ban with LCM restrictions. H.R. 1808, 117th
 Cong. (2022).
 6
   H.R. 1808, 117th Cong. (2022).
                                            7
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 public from harm, and to dampen weapons-related criminality. The pattern of

 criminal violence and concerns for public safety leading to weapons restrictions is

 not new; in fact, it can be traced back to the Nation’s beginnings. While the

 particular weapons technologies and public safety threats have changed over time,

 governmental responses to the dangers posed by certain weapons have remained

 constant. Current restrictions on assault weapons and detachable ammunition

 magazines are historically grounded. They are part of a pattern in America’s

 history of legislative restrictions on particular weapons stretching back centuries.

 II.   REGULATORY HISTORY OF FULLY AUTOMATIC AND SEMI-AUTOMATIC
       FIREARMS
       12.    A clear example of this historical pattern is provided by early

 twentieth-century restrictions related to fully automatic firearms. While weapons

 capable of firing rounds in rapid succession can be traced to guns of the late

 nineteenth and early twentieth centuries, like the hand-cranked, multi-barreled

 Gatling gun which could fire up to 200 rounds per minute, 7 it and its successors

 were military weapons designed to be used in combat and fired from a tripod or

 similar supporting apparatus, owing to the Gatling gun’s size and weight. Strictly

 7
  The Gatling gun, a manually operated, hand-cranked machine gun, was adopted
 by the U.S. Army in 1866, and was utilized in warfare against Native Americans
 and in the Spanish-American War of 1898. Richard W. Stewart, American Military
 History, Vol. I: The U.S. Army and the Forging of a Nation, 1775-1917
 (Washington, D.C.: Center of Military History, 2008), 367-68; “Gatling Gun,”
 History.com, September 9, 2021, https://www.history.com/topics/american-civil-
 war/gatling-gun.
                                            8
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  speaking, guns like the Gatling gun were not fully automatic as they did not fire a

  continuous stream of bullets while depressing a gun trigger. The development of a

  fully automatic machine gun for battlefield use, capable of firing all of its rounds

  from a single barrel and with a single trigger pull, came to fruition during World

  War I. These tripod-mounted military guns, like the Maxim, operated to devastating

  effect on the battlefield. They initially fired 200-400 rounds per minute but later

  400-600 rounds per minute from a gun weighing roughly 100 pounds. 8

        13.    Out of World War I came a practical, lighter-weight, reliable, hand-

  held, fully automatic weapon: the Thompson submachine gun, widely known as the

  Tommy gun. Though it was developed for use in World War I as “purely a military

  weapon,”9 it came too late in the war to have much effect. Its inventor, John

  Thompson, patented his .45 caliber gun in 1920. 10 The Tommy gun was initially

  unregulated after World War I and was made available for civilian purchase in

  order to try to boost anemic sales, typically with either a 20–30 round stick


  8
    Donald M. Snow and Dennis M. Drew, From Lexington to Desert Storm: War and
  Politics in the American Experience (Armonk, NY: M.E. Sharpe, 1994), 127; “How
  The Machine Gun Changed Combat During World War I,” Norwich University
  Online, October 15, 2020, https://online.norwich.edu/academic-
  programs/resources/how-machine-gun-changed-combat-during-world-war-i.
  9
    William J. Helmer, The Gun That Made the Twenties Roar (Highland Park, NJ:
  The Gun Room Press, 1969), 75.
  10
     Matthew Moss, “From Gangland to the Battlefield — 15 Amazing Facts About
  the Thompson Submachine Gun,” Military History Now, January 16, 2015,
  https://militaryhistorynow.com/2015/01/16/from-gangland-to-the-battlefield-15-
  amazing-facts-about-the-thompson-submachine-gun.
                                             9
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  magazine or a 100-round drum magazine. (The U.S. military showed little interest

  in acquiring the weapon, as the military largely demobilized and contracted sharply

  in size after the war.11) It was only at this point—in the early 1920s—that such

  hand-held weapons operated reliably, were made available to civilians, and began to

  circulate in society, 12 though sales in the early 1920s were sluggish. By 1925,

  Thompson’s marketing company, Auto-Ordnance, had sold only about 3,000 of the

  15,000 it had manufactured up to this point, including to police forces and

  individuals.13 This pattern of anemic sales typified the gun’s commercial trajectory:

  “Despite its initial publicity and later notoriety, the Thompson submachine gun was

  a failure from the start.” 14 This was especially true for police forces, to whom

  Thompson and his company marketed the gun aggressively, even when criminals

  found the gun appealing. “As a criminal’s weapon, the Tommygun was an

  unqualified success. As a police weapon, it was such a flop that many law-

  enforcement officials wished sincerely that it has never come off the drawing


  11
     John Ellis, The Social History of the Machine Gun (NY: Pantheon, 1975), 149–
  52; Helmer, The Gun That Made the Twenties Roar, 161-64.
  12
     Peter Suciu, “The Thompson Submachine Gun: Made for the U.S. Postal
  Service?” The National Interest, July 3, 2020,
  https://nationalinterest.org/blog/reboot/thompson-submachine-gun-made-us-postal-
  service-164096.
  13
     Lee Kennett and James LaVerne Anderson, The Gun in America (Westport, CT:
  Greenwood Press, 1975), 203. Helmer confirms the number of 3000 guns sold by
  1925. The Gun That Made the Twenties Roar, 74. Helmer says that “sales declined
  steadily” after 1921; see 130.
  14
     Helmer, The Gun That Made the Twenties Roar, 129.
                                            10
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  board.”15 For example, after the 1929 St. Valentine’s Day massacre, a

  representative of Auto-Ordnance visited Chicago police captain John Stege to offer

  assistance. Captain Stege “practically ran him out of the office. . . .It was Stege’s

  opinion that not even the police should be armed with machine guns,” an opinion

  shared “by many other lawmen in the country.”16 Another police chief explained

  why: “It is not possible for a police officer to open a machine gun up on a crowded

  street . . . because you are going to kill possibly ten innocent people to one

  criminal.”17 Poor military and law enforcement sales forced the company to “peddle

  the new gun in peacetime” by trying “to think up something else it might be good

  for.” Their conclusion was to market the gun as “good for anything.” 18

        14.    After 1926, sales began to rise, primarily because of newfound interest

  by the American military, which started to use the weapon in foreign military

  operations especially in Nicaragua, and by the Belgium military. 19 In 1930, the

  Auto-Ordnance company closed down its sales department because of escalating

  concerns about its weapons falling into criminal hands, and the attendant bad

  publicity. All commercial sales were discontinued except to the military and law

  15
     Helmer, The Gun That Made the Twenties Roar, 126. Helmer quotes numerous
  police officials denouncing the weapon as useless for the police; see 126-28.
  16
     Helmer, The Gun That Made the Twenties Roar, 126.
  17
     Helmer, The Gun That Made the Twenties Roar, 126. The gun’s rare actual use
  confirmed this fear. In an attack on John Dillinger, for example, FBI agents
  “mistakenly shot three innocent customers.” (128).
  18
     Helmer, The Gun That Made the Twenties Roar, 75.
  19
     Helmer, The Gun That Made the Twenties Roar, 130-45.
                                             11
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  enforcement.20 The result was that by 1932, sales had fallen to fewer than ten per

  month. Through 1938, the company reported total sales of 10,300. The company’s

  revival came thanks to World War II. 21

        15.    Before the early 1920s, these fully automatic weapons were

  unregulated for the obvious reason that they did not exist or were not circulating

  widely in society. When they did begin to circulate, however, their uniquely

  destructive capabilities rapidly became apparent, especially to the emergent

  Prohibition-fueled gangster organizations of the 1920s. Another automatic weapon

  developed for World War I was the Browning Automatic Rifle (BAR). It fired a

  .30-06 caliber round, could receive a 20-round box magazine, and could fire up to

  650 rounds per minute. The BAR first appeared on the battlefield in 1918.22 It was

  “a heavy machine rifle weighing nearly twenty pounds with bipod and loaded

  magazine. . . .” 23 It, too, made its way into civilian life and found favor among

  criminals and gangsters in the 1920s and early 1930s.24 Guns like the Tommy gun


  20
     Helmer, The Gun That Made the Twenties Roar, 143-44.
  21
     Helmer, The Gun That Made the Twenties Roar, 167-79.
  22
     Paul Richard Huard, “Browning Automatic Rifle: The Most Dangerous Machine
  Gun Ever?” The National Interest, November 19, 2019,
  https://nationalinterest.org/blog/buzz/browning-automatic-rifle-most-dangerous-
  machine-gun-ever-97662; “Browning automatic rifle,” Britannica, September 8,
  2022, https://www.britannica.com/technology/Browning-automatic-rifle.
  23
     Helmer, The Gun That Made the Twenties Roar, 37.
  24
     Derek Avery, Firearms (Hertfordshire, England: Wordsworth Editions, 1995),
  12. The BAR was a favorite of the notorious outlaws Bonnie and Clyde, for
  example. Christian Oord, “The Weapons of Bonnie & Clyde & the Guns That
                                            12
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  and the BAR were actually used relatively infrequently by criminals generally, but

  when they were used, they exacted a devastating toll and garnered extensive

  national attention, such as their use in the infamous St. Valentine’s Day massacre in

  Chicago in 1929. 25

        16.    I conducted a search of Newspapers.com from 1920-1930 using the

  search terms “Tommy Gun,” “Thompson submachine” and “machine gun.” The

  term Tommy Gun turned up essentially no hits until 1928, a clear indication that

  this particular term did not come into wide use until fairly late in the decade. The

  search for machine gun turned up more, but many of them referenced the weapons

  owned or used by the military (including many stories about World War I). The

  search for Thompson submachine was much more successful, yielding many

  articles from across the country. Starting in the fall of 1920, a few newspaper

  articles described regular reports of demonstrations of the gun for police and other

  government officials and agencies, and reports of local police forces sometimes

  purchasing a few of the guns. Reports of demonstrations of the gun to police forces

  and other state and local officials and also of some purchases appeared regularly

  starting in 1921, and continued throughout the 1920s, as did numerous articles


  Stopped Them,” War History Online, April 26, 2019,
  https://www.warhistoryonline.com/history/weapons-of-bonnie-and-
  clyde.html?A1c=1.
  25
     Chris McNab, Deadly Force: Firearms and American Law Enforcement (NY:
  Osprey Publishing, 2009), 97–98.
                                            13
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  describing the gun’s development and capabilities by inventor John Thompson.

  These articles also reprinted standard accounts of the Tommy gun’s weight, size,

  firing capabilities and possible uses by law enforcement. Despite this degree of

  coverage, however, relatively few of the guns were actually purchased in the 1920s,

  as noted earlier.

        17.    To cite a few examples of early news coverage, an account in the

  Western Sentinel (“New Type of Gun is Demonstrated Here,” Winston-Salem,

  North Carolina; https://www.newspapers.com/image/89498556) from December 3,

  1920 reported on a demonstration of the Tommy gun, saying that it weighed about

  seven pounds, fired .45 caliber rounds, could fire up to 1500 rounds per minute,

  could receive a box magazine holding 20 rounds, or a drum magazine with either 50

  or 100 rounds. It went on to say that the gun was “without equal for riot use and for

  the police chasing thieves and other lawbreakers who attempt to escape in

  automobiles, for with this little weapon it is a very easy thing to rip the tires off of

  an escaping car, and the gun is so light and simple that an inexperienced man can

  fire with the effect of an expert marksman and moving targets can be hit with the

  ease that a fireman sprays a hose or on flame.” Other articles touted the gun’s

  usefulness in controlling riots and mobs. An account from the Jamestown Weekly

  Alert (“New Submachine Guns Received,” Jamestown, North Dakota, May 12,

  1921; https://www.newspapers.com/image/465633429) reported that state and


                                             14
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  county officials were provided with ten of the guns for “hunting down whiskey

  runners in the northern part of the state.”

        18.    Starting in roughly late 1921 and early 1922, a handful of small news

  items reported thefts of Tommy guns from armories or police stations. The one

  notable crime-related case to receive enormous press attention was a major seizure

  of about 600 Tommy guns with ammunition and magazines, first reported about

  June 16, 1921, from a ship docked at the port of Hoboken, N.J. bound for Ireland

  for use by the IRA in the ongoing Irish rebellion (Ireland won its independence

  from Britain in 1922).

        19.    Newspaper reports of criminal use of Tommy guns were few, small,

  and spare until 1926, when a few very sensational news reports of their criminal use

  received widespread and extensive attention in newspapers across the country. Most

  of these initial stories were reports of Chicago gangster use (notably one “Al

  Caponi” in an early account) along with stories from the New York City-New

  Jersey area. For example, an AP story from October 16, 1926 with the dateline

  Somerville, N.J. (“Use Expert Riflemen to Hunt Robbers,” Ithaca Journal, N.Y.,

  https://www.newspapers.com/image/254505945) reported on “the advance of 500

  city, state and volunteer police on the mountain stronghold of New Jersey’s

  machine gun mail bandits.” According to the account, eight men robbed a truck of

  over $100,000 and were holed up at the stronghold. The authorities were also armed


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  with weapons that included machine guns, and were contemplating the expansion of

  the search party with 2000 militiamen.

        20.    Coinciding with these extensive stories were articles, editorials, and

  exposés calling for changes in the law to address this growing gun crime problem.

  For example, an article from the Boston Herald (“Machine Guns for All,” Kennebec

  Journal, Augusta, Maine, December 4, 1926,

  https://www.newspapers.com/image/857617757) began by quoting a magazine

  story from Collier’s Weekly that observed: “The police authorities are powerless to

  interfere with the sale and distribution of the highest powered instrument of

  destruction that has yet been placed at the convenience of the criminal element in

  this country.” The Herald sent out a man to see if an average person could buy a

  machine gun “without trouble.” The buyer’s conclusion: “He had no trouble”

  purchasing the gun, which the article labeled “a diabolical engine of death.” The

  article detailed that for the prospective gun purchaser, “Pistols would not be shown

  unless the customer exhibited a permit, but machine guns could be had over the

  counter with no such formalities.” The article concluded this way: “Here is a case

  where it seems that ‘there ought to be a law.’ This weapon. . . was designed for war.

  . . .a machine gun is the greatest aid to crime that yet has been placed within the

  reach of criminals.”




                                            16
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        21.    Reports and exposés, juxtaposed with lurid and sensational accounts of

  Tommy gun criminality, built pressure on the states to enact anti-machine gun laws

  (at least 32 states did so between 1925 and 1933; see Exhibits B and D), and also

  put pressure on Congress to act. A long-stalled bill in Congress to restrict the

  interstate shipment of guns received renewed interest and support in 1926,

  eventually leading to congressional enactment of the Mailing of Firearms Act of

  1927, a limited measure that failed to restrict interstate handgun shipment because it

  did not affect non-Postal Service shipments. From 1926 on, news stories were

  filled with the kind of sensational gangster-related stories that led to the Tommy

  gun being labeled the weapon that “made the Twenties roar,” and that also led to

  many anti-machine gun laws. For example, an article dated November 27, 1928

  (“Machine Gun Ban Plan of Chicago,” The Salt Lake Tribune,

  https://www.newspapers.com/image/542285510) reported that “Chicago’s war on

  gangsters and racketeers was reopened tonight with the drafting of a law to prohibit

  the sale of machine guns. ‘Tommy guns,’ the bullet spitting little Thompson

  submachine guns which are inseparable from gang fights, bank robberies,

  assassinations and other major crimes. . .could be purchased as easily and legally in

  Chicago as a pound of meat. . . .practically every sporting goods establishment in




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  Chicago carried the firearms and sold them readily. State Senator Arthur Huebsch

  will introduce the bill.” (Illinois adopted an anti-machine gun law in 1931.26)

        A.     State-Level and Nationwide Attempts to Regulate Automatic and
               Semi-Automatic Firearms in the Early Twentieth Century

        22.    In response to the wider availability of firearms like the Tommy gun

  and the BAR, between 1925 and 1934, at least 32 states enacted anti-machine gun

  laws (see Exhibits B and D). These state (and eventually federal) enactments were

  anticipated, justified, and promoted by the National Conference of Commissioners

  on Uniform State Laws, a national organization formed in 1892 to provide “non-

  partisan, well-conceived and well-drafted legislation that brings clarity and stability

  to critical areas of state statutory law.” 27 (Today, the organization is known as the

  Uniform Law Commission.) In 1923, the Commission organized a special

  committee to draft a “Uniform Act to Regulate the Sale and Possession of

  Firearms.” In 1928, it issued a model law calling for the prohibition of the

  possession of “any firearm which shoots more than twelve shots semi-automatically

  without reloading.” 28 In 1930, it issued a model firearms act focusing on “guns of

  the pistol type.” In 1932, it issued a model act “intended not only to curb the use of

  26
     Former Ill. Rev. Stat. ch. 38, ¶¶ 414a to 414g, “An Act to regulate the sale,
  possession and transportation of machine guns,” approved July 2, 1931.
  27
     Uniform Law Commission, About Us,
  https://www.uniformlaws.org/aboutulc/overview.
  28
     Report of Firearms Committee, 38th Conference Handbook of the National
  Conference on Uniform State Laws and Proceedings of the Annual Meeting 422–23
  (1928).
                                            18
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  the machine gun, but to make it unwise for any civilian to possess one of the

  objectionable type.” The Commission explained that, between 1923 and 1930, “the

  infant industry of racketeering grew to monstrous size, and with it the automatic

  pistol replaced the revolver, to be in turn displaced by a partly concealable type of

  machine gun—the Thompson .45 inch caliber submachine gun becoming most

  popular. . . .” 29

         23.     Congress enacted a machine gun ban for the District of Columbia in

  1932 which defined a machine gun as “any firearm which shoots automatically or

  semiautomatically more than twelve shots without reloading.” 30 The National Rifle

  Association endorsed D.C.’s ban, stating “it is our desire [that] this legislation be

  enacted for the District of Columbia, in which case it can then be used as a guide

  throughout the states of the Union.” 31 In his testimony before Congress in 1934 on

  the bill that became the National Firearms Act, NRA vice president Milton A.

  Reckord extolled his organization’s role in passing the 1932 D.C. law, saying, “. . .

  the association I represent is absolutely favorable to reasonable legislation. We are




  29
     “Uniform Machine Gun Act,” National Conference of Commissioners on
  Uniform State Laws, Forty-Second Annual Conference, Washington, D.C., October
  4-10, 1932, http://www.titleii.com/bardwell/1932_uniform_machine_gun_act.txt.
  30
     “Hearings Before the Committee on Ways and Means, National Firearms Act,
  H.R. 9066,” U.S. House of Representatives, April 16, 18, May 14, 15, and 16, 1934
  (Washington, D.C.: GPO, 1934), 45; 47 Stat. 650, ch. 465, §§ 1, 14 (1932).
  31
     S. Rep. No. 72-575, at 5–6 (1932).
                                            19
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  responsible for the uniform firearms act. . . . in the District of Columbia. It is on the

  books now.”32

        24.    In 1934, Congress enacted the National Firearms Act, which imposed a

  series of strict requirements on the civilian acquisition and general circulation of

  fully automatic weapons, like the Tommy gun. The National Firearms Act imposed

  a tax on the manufacture, sale, and transfer of listed weapons, including machine

  guns, sawed-off shotguns and rifles, silencers, and “any other weapons” with

  certain firing capabilities. Such weapons had to be registered with the Treasury

  Department, and the owners fingerprinted and subject to a background check, with

  the payment of a $200 tax.33 The early models of the Tommy gun could fire “an

  astounding 1,500 rounds per minute. A Tommy gun could go through a 100-round

  drum magazine in four seconds. Later versions fired 600 to 700 rounds per

  minute.”34

        25.    In his opening statement to the Ways and Means Committee of the

  U.S. House of Representatives, Attorney General Homer Cummings made clear that

  the bill under consideration was designed to fight the epidemic of gun crime where

  criminals could evade capture by crossing state lines:




  32
     “Hearings Before the Committee on Ways and Means,” 36.
  33
     48 Stat. 1236.
  34
     Moss, “From Gangland to the Battlefield.”
                                             20
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        The development of late years of the predatory criminal who passes rapidly
        from State to State, has created a situation which is giving concern to all who
        are interested in law and order. . . . there are more people in the underworld
        today armed with deadly weapons, in fact, twice as many, as there are in the
        Army and the Navy of the United States combined. . . . In other words,
        roughly speaking, there are at least 500,000 of these people who are warring
        against society and who are carrying about with them or have available at
        hand, weapons of the most deadly character. 35

        26.    As one member of the committee observed, “The question in my mind

  and I think in the majority of the committee is what we can do to aid in suppressing

  violations by such men as [John] Dillinger and others.”36

        27.    To address the problem, the original version of the bill proposed

  regulating both semi-automatic and fully automatic firearms, as it defined restricted

  machine guns as did the 1932 D.C. law, with its emphasis on outlawing guns that

  could fire rapidly and repetitively without reloading, whether semi-automatically or

  fully automatically: “The term ‘machine gun’ means any weapon designed to shoot

  automatically or semiautomatically 12 or more shots without reloading.” 37 The

  final version of the bill limited restrictions to fully automatic firearms.

        28.    In addition to the National Firearms Act’s restrictions on fully

  automatic weapons, during this same time period at least seven states plus the


  35
     “Hearings Before the Committee on Ways and Means,” 4. The version of the bill
  that appears on page 1 of the Hearings had this definition of machine gun: “The
  term ‘machine gun’ means any weapon designed to shoot automatically or
  semiautomatically twelve or more shots without reloading.”
  36
     “Hearings Before the Committee on Ways and Means,” 42.
  37
     Ibid., 52.
                                             21
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  District of Columbia, and as many as ten states plus D.C., enacted laws restricting

  semi-automatic weapons (see Exhibit B).38 The reason for restricting semi-

  automatic firearms is not hard to discern. These restrictions all appeared in the

  same statutes as those restricting fully automatic weapons, which utilize the same

  fundamental firearms technology: an action that automatically loads a new round

  into the chamber after each shot is fired, potentially with the use of detachable

  ammunition magazines or similar feeding devices, and is capable of firing

  numerous rounds without reloading.39 During the time that Thompson and his

  company were developing and marketing the Tommy gun (which could fire in

  semi- or full-auto modes 40), they were also developing the Thompson Autorifle, a

  “strictly semiautomatic rifle” for which the military showed greater interest than it

  did for the Tommy gun.41 The Autorifle was also promoted to police and military

  organizations, though it was overshadowed by the Tommy gun. 42


  38
     See also Robert J. Spitzer, “Gun Law History in the United States and Second
  Amendment Rights,” Law and Contemporary Problems 80 (2017): 68–71. The
  language of the restrictions in Louisiana, Illinois, and South Carolina was
  ambiguous regarding whether they applied to semi-automatic weapons.
  39
     Spitzer, The Gun Dilemma, 32–33. In 1913, Florida enacted this measure: “It
  shall, at any time, be unlawful to hunt game in Marion County with guns—known
  as Automatic guns.” While an automatic weapon fires a continuous stream of
  bullets when the trigger is depressed, a semi-automatic weapon fires a single shot
  with each pull of the trigger.
  40
     Helmer, The Gun That Made the Twenties Roar, 48-49, 255-56.
  41
     Helmer, The Gun That Made the Twenties Roar, 37, 50.
  42
     Helmer, The Gun That Made the Twenties Roar, 161. Ultimately, the military
  opted for the semiautomatic M1 Garand over the Autorifle.
                                            22
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        29.    As the prior discussion reveals, the regulation of automatic and semi-

  automatic weapons in the 1920s and 1930s was closely tied to the enhanced firing

  capacity of these weapons and the attractiveness (and use) of these weapons by

  criminals at that time, and the related understanding that these weapons had no

  justifiable civilian use. By that time, gun technology was now available that made

  it possible for ammunition to be reliably fired in rapid succession and guns to be

  reloaded through interchangeable ammunition magazines or similar devices. Again,

  the lesson is the same: once these technologies began to spread in civil society and

  be used for criminal or other dangerous purposes, regulatory efforts ensued.

        B.     State Regulation of Ammunition Feeding Devices

        30.    Restrictions on fully automatic and semi-automatic firearms were

  closely tied to restrictions on ammunition magazines or their equivalent, as both

  automatic and semi-automatic weapons are predicated on some kind of mechanical

  loading function or device that automatically feeds new rounds into the firing

  chamber after the previous round is fired. As is the case with contemporary state

  limitations on ammunition magazine capacity, state laws enacted early in the

  twentieth century imposed restrictions based on the number of rounds that could be

  fired without reloading, ranging from more than one (Massachusetts and

  Minnesota) up to a high of eighteen (Ohio).




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        31.    Magazine capacity/firing limits were imposed in three categories of

  state laws (see Table 1 below): ten states plus the District of Columbia regulating

  semi-automatic and fully automatic weapons (California, District of Columbia,

  Massachusetts, Michigan, Minnesota, New Jersey, North Carolina, Ohio, Rhode

  Island, South Dakota, and Virginia43); eleven states regulated fully automatic

  weapons only, where the regulation was defined by the number of rounds that could

  be fired without reloading or by the ability to receive ammunition feeding devices

  (Illinois, Louisiana, Minnesota, New Jersey, North Dakota, Oregon, Pennsylvania,

  South Carolina, Texas, Vermont, and Wisconsin 44); and four states restricted all


  43
     1933 Cal. Stat. 1169; Act of July 8, 1932, ch. 465, §§ 1, 8, 47 Stat. 650, 650, 652
  (District of Columbia); Act of July 2, 1931, 1931 Ill. Laws 452, 452; 1927 Mass.
  Acts 413, 413-14; Act of June 2, 1927, no. 372, 1927 Mich. Pub. Acts 887, 888;
  Mich. Pub. Acts 1929, Act No. 206, Sec. 3, Comp. Laws 1929; Act of Apr. 10,
  1933, ch. 190, 1933 Minn. Laws 231, 232; Act of Apr. 8, 1933, no. 64, 1933 Ohio
  Laws 189, 189; 1927 R.I. Pub. Laws 256, 256; Uniform Machine Gun Act, ch. 206,
  1933 S.D. Sess. Laws 245, 245; Act of Mar. 7, 1934, ch. 96, 1934 Va. Acts 137,
  137. Two of these states enacted early laws focused on such weapons’ use in
  hunting. New Jersey had a 1920 law making it “unlawful to use in hunting fowl or
  animals of any kind any shotgun or rifle holding more than two cartridges at one
  time, or that may be fired more than twice without reloading.” 1920 N.J. Laws 67,
  ch. 31, Section 9. North Carolina made it “unlawful to kill quail with any gun or
  guns that shoot over two times before reloading” in 1917. 1917 N.C. Sess. Laws
  309, ch. 209, Sec. 1.
  44
     1931 Ill. Laws 452-53, An Act to Regulate the Sale, Possession and
  Transportation of Machine Guns, §§ 1-2; Act of July 7, 1932, no. 80, 1932 La. Acts
  336; 1927 N.J. Laws 180-81, A Supplement to an Act Entitled “An Act for the
  Punishment of Crimes,” ch. 95, §§ 1-2; 1931 N.D. Laws 305-06, An Act to Prohibit
  the Possession, Sale and Use of Machine Guns, Sub-Machine Guns, or Automatic
  Rifles and Defining the Same . . . , ch. 178, §§ 1-2; 1933 Or. Laws 488, An Act to
  Amend Sections 72-201, 72-202, 72-207; 1929 Pa. Laws 777, §1; Act of Mar. 2,
                                           24
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  guns that could receive any type of ammo feeding mechanism or round feeding

  device and fire them continuously in a fully automatic manner (California, Hawaii,

  Missouri, and Washington State). 45




  1934, no. 731, 1934 S.C. Acts 1288; 1933 Tex. Gen. Laws 219-20, 1st Called Sess.,
  An Act Defining “Machine Gun” and “Person”; Making It an Offense to Possess or
  Use Machine Guns. . . , ch. 82, §§ 1-4, § 6; 1923 Vt. Acts and Resolves 127, An
  Act to Prohibit the Use of Machine Guns and Automatic Rifles in Hunting, § 1;
  1933 Wis. Sess. Laws 245, 164.01.
  45
     1927 Cal. Stat. 938, ch. 552, §§ 1–2; 1933 Haw. Sess. Laws 117; 1929 Mo. Laws
  170; Wash. 1933 Sess. Laws 335.
                                          25
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                                       TABLE 1
       AMMUNITION MAGAZINE RESTRICTIONS IN 23 STATES, 1917-193446
   Semi-automatic and          Fully Automatic              All Firearms
   Fully Automatic             Firearms                     (any weapon capable of
   Firearms                    (barred firearms capable     receiving rounds through
   (barred firearms holding    of firing the listed         certain named round-
   more than the listed        number of rounds or          feeding devices)
   number of rounds or         more without reloading
   more without reloading)     or that could receive
                               ammunition feeding
                               devices)
   -California (10 rounds;     -Illinois (8 rounds; 1931)   -California (1927)
   1933)                       -Louisiana (8 rounds;        -Hawaii (1933)
   -District of Columbia (12 1932)                          -Missouri (1929)
   rounds; 1932)               -Minnesota (12 rounds;       -Washington State (1933)
   -Massachusetts (1 round; 1933)
   1927)                       -New Jersey (any
   -Michigan (16 rounds;       removable device
   1927)                       holding rounds; 1927)
   -Minnesota (1 round;        -North Dakota (loadable
   1933)                       bullet reservoir; 1931)
   -New Jersey (2 rounds;      -Oregon (2 rounds; 1933)
   hunting only; 1920)         -Pennsylvania (2 rounds;
   -North Carolina (2          1929)
   rounds; hunting only;       -South Carolina (8
   1917)                       rounds; 1934)
   -Ohio (18 rounds; 1933) -Texas (5 rounds; 1933)
   -Rhode Island (12           -Vermont (6 rounds;
   rounds; 1927)               1923)
   -South Dakota (5 rounds; -Wisconsin (2 rounds;
   1933)                       1933)
   -Virginia (7 rounds;
   1934)
  See Exhibit D for statutory text.




  46
    Including the District of Columbia. Note that California, Minnesota, and New
  Jersey appear twice in this table. The dataset from which this information is drawn
  ended in 1934, so it does not include any states that might have enacted similar
  restrictions after 1934. See Duke Law Center for Firearms Law, “Repository of
  Historical Gun Laws,” https://law.duke.edu/gunlaws/.
                                           26
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        32.    A 1927 California law, for example, prohibited the possession of any
  “machine gun,” where that term was defined to include:

          all firearms known as machine rifles, machine guns or submachine
          guns capable of discharging automatically and continuously loaded
          ammunition of any caliber in which the ammunition is fed to such
          gun from or by means of clips, disks, drums, belts or other separable
          mechanical device.47

  The other three states in this category (Hawaii, Missouri, Washington 48) utilized

  this same description. In all, at least twenty-three states enacted twenty-six gun

  restrictions based on the regulation of ammunition magazines or similar feeding

  devices, and/or round capacity (see Table 1).

        33.    The original version of the legislation that became the National

  Firearms Act of 1934, as noted earlier, included this definition of machine gun that

  encompassed both semi-automatic and fully automatic firearms: “The term

  ‘machine gun’ means any weapon designed to shoot automatically or

  semiautomatically 12 or more shots without reloading.”49 (This text was derived

  from the law enacted by Congress for the District of Columbia in 1932, which also

  stipulated a 12 round limit, as noted previously. 50 The final version of the 1934 bill

  was limited to fully automatic firearms only and did not include any limitation by

  47
     1927 Cal. Stat. 938.
  48
     1933 Haw. Sess. Laws 117; 1929 Mo. Laws 170; Wash. 1933 Sess. Laws 335.
  49
     “National Firearms Act,” Hearings Before the Committee on Ways and Means,
  House of Representatives, on H.R. 9066, April 16, 18, and May 14, 15, and 16,
  1934 (Washington, D.C.: GPO, 1934), 52.
  50
     Ibid., 45.
                                            27
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  number of rounds fired.) Regulations concerning removable magazines and

  magazine capacity were thus common as early as the 1920s—the period of time

  when these weapons and devices began to make their way into civilian life and also

  contributed to violence and criminality, as illustrated by the Tommy gun narrative

  and other weapons discussed here—as these regulations were adopted by nearly

  half of all states, representing approximately 58% of the American population at

  that time. 51

         C.       Lessons from the Regulation of Automatic and Semi-Automatic
                  Firearms and Ammunition Feeding Devices in the Early Twentieth
                  Century
         34.      The lesson from this sequence of events early in the twentieth century

  demonstrates that changes in gun policy followed a series of steps that respond to

  developments in firearms technologies and their use in crime, each dependent on

  the previous step. First, a new gun or gun technology is invented. Second, it may

  then be patented, though the patenting of a design or idea by no means assures that

  it will proceed beyond this point. Third, it is often developed with a focus on

  military applications and supplying military needs, not directly for civilian

  acquisition or use. Fourth, some military-designed weapons may then spread to, or

  be adapted to, civilian markets and use. Finally, if such weapons then circulate

  sufficiently in society to pose a safety, violence, or criminological problem or

  51
    U.S. Census, Historical Population Change Data (1910-1920) (using 1920 census
  data), https://www.census.gov/data/tables/time-series/dec/popchange-data-
  text.html.
                                             28
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  threat, calls for government regulation or restriction then may lead to gun

  policy/law changes. New gun laws are not enacted when firearm technologies are

  invented or conceived. They are enacted when those technologies circulate

  sufficiently in society to spill over into criminal or other harmful use, presenting

  public safety concerns that governments attempt to address through their police and

  policy-making powers.

        35.    This lesson is significant because some argue that the absence of

  government gun regulations in history—at the time of the invention of various

  weapons or weapons developments—means that regulations now are unjustifiable,

  or have no historical basis. For example, David Kopel argues that “[m]agazines of

  more than ten rounds are older than the United States.” 52 Drawing on examples like

  a firearm “created around 1580” capable of firing sixteen “‘superposed’ loads”

  (with each round stacked on top of the other); the Puckle gun said to fire eleven

  shots and patented in 1718; the Girandoni air rifle, invented in the late 1700s; and

  the Pepperbox pistol of the early 1800s, 53 Kopel suggests that “magazines of more

  than ten rounds are older than the Second Amendment.”54 Therefore, by Kopel’s

  reckoning, since these weapons existed early in (or even before) the country’s

  existence, and were not specifically regulated, ipso facto, today’s governments are

  52
      David Kopel, “The History of Firearm Magazines and Magazine Prohibitions,”
  Albany Law Review 78 (2014-2015): 851.
  53
     Ibid., 852-54.
  54
      Ibid., 849.
                                            29
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  unable to regulate assault weapons, like AR-platform rifles, or magazines exceeding

  certain capacities (typically, a ten-round limit). 55 More to the point, Kopel’s claim

  that ammunition magazines holding “more than ten rounds” were “very commonly

  possessed in the United States since 1862” and were “owned by many millions of

  law-abiding Americans” dating back to the “mid-nineteenth century” 56 is simply

  false, as this Declaration demonstrates.

        36.    Kopel’s and similar arguments 57 fail for two sets of reasons. First, as

  explained in the following section, this sort of narrative misrepresents the

  availability and capabilities of these early weapons. Second, the account fails to

  understand the relationship between firearms’ technological development, their

  spread into civil society, and government gun policy. As one gun history expert

  noted, “the guns of 1830 were essentially what they had been in 1430: single metal

  tubes or barrels stuffed with combustible powder and projectiles” where “after

  every shot, the shooter had to carry out a minimum of three steps: pour powder into

  55
     Ibid., 871-72 (“a court which today ruled that [10-round] magazines are
  ‘dangerous and unusual’ would seem to have some burden of explaining how such
  magazines, after a century and a half of being ‘in common use’ and ‘typically
  possessed by law-abiding citizens for lawful purposes,’ became ‘dangerous and
  unusual’ in the twenty-first century.”).
  56
         Ibid., 871. Kopel insists “that [10-round] magazines” have been “‘in common
  use’ and ‘typically possessed by law-abiding citizens for lawful purposes’” for “a
  century and a half” (871-72). This claim is both false and unverified by his article.
  57
     Declaration of Ashley Hlebinsky in Support of Plaintiffs’ Motion for Preliminary
  Injunction, Miller v. Becerra, Case No. 3:19-cv-01537-BEN-JLB, United States
  District Court For The Southern District Of California, filed December 6, 2019
  (Plaintiffs’ Trial Exhibit 2).
                                             30
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  the barrel; add a projectile. . .; then ignite the gunpowder and send the projectile on

  its way.”58 The firearms and firearm feeding devices regulated in the early

  twentieth century in the previous account represented a dramatically different type

  of firearm, capable of reliable, rapid fire utilizing interchangeable ammunition

  feeding devices.

        D. The History of Pre-Twentieth Century Firearms Technologies
        37. As researchers and experts of gun history have noted, experimental

  multi-shot guns existed in the eighteenth century (with multi-shot experimental

  designs dating back as much as two centuries earlier). For example, a firearm from

  the late 1500s that could fire up to sixteen rounds is described in a book titled,

  Firearms Curiosa. But this book’s very title indicates why this narrative is

  irrelevant to the modern gun debate. The definition of “curiosa” is something that

  is rare or unusual. As the book’s author, Lewis Winant says, his book is about

  “oddity guns” and “peculiar guns.”59 That is, they were anything but common,

  ordinary, or found in general circulation. Winant’s description of the sixteen shot

  gun from the 1500s is that “the first pull of the trigger” fires “nine Roman candle

  charges, a second pull will release the wheel on the rear lock and set off six more

  such charges, and finally a third pull will fire the one remaining shot.”60 A “Roman


  58
     Jim Rasenberger, Revolver: Sam Colt and the Six-Shooter That Changed America
  (NY: Scribner, 2021), 3-4.
  59
     Lewis Winant, Firearms Curiosa (New York: Bonanza Books, 1955), 8, 9.
  60
     Ibid., 168.
                                            31
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  candle charge” was defined by Winant as one where “the operator had no control of

  the interval between shots; he could not stop the firing once he had started it.” 61 In

  other words, this firing process was more like lighting the fuse of a string of

  firecrackers, where their ignition occurs in a manner that cannot be controlled by

  the operator once the initial charge is ignited. Winant concludes: “Of all the ideas

  for producing multishot firearms the scheme of superimposing loads in one barrel is

  probably the oldest, the most discredited, the most frequently recurring, and also the

  most readily accepted as new.”62

         38.       An early multi-shot gun, the “Puckle Gun,” patented in 1718 in

  London by James Puckle, could fire nine rounds per minute (hardly comparable to

  the firing capabilities of semi- and fully automatic weapons of the twentieth and

  twenty-first centuries). The patent drawing of this weapon shows it sitting on a

  tripod on the ground.63 It was not a hand-held weapon. In the patent, Puckle

  described it as “a portable Gun or Machine (by me lately invented) called a

  DEFENCE.”64 It was indeed a military weapon, as Winant says: “Of the oddities

  among military weapons none has received more publicity than the Puckle gun. . . .

  The Puckle invention was probably the first crank-operated machine gun. It

  embodied several elements that closely resemble construction features of Gatling,

  61
     Ibid., 166.
  62
     Ibid., 166.
  63
     Ibid., 220.
  64
     Ibid., 219.
                                              32
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  Hotchkiss and other manually-operated machine guns.” Winant continued, “It is

  doubtful that any of the Puckle guns that may have been actually produced ever saw

  service.” 65 A different account of this weapon says: “There is in fact no record of

  such a gun ever having been built,”66 although there are claims to the contrary. A

  contemporaneous poet, commenting on ‘Puckle’s Machine Company’, wrote ‘Fear

  not, my friends, this terrible machine. They’re only wounded who have shares

  therein.’”67 This weapon “never advanced beyond the prototype stage.” 68

        39.    In short, it was an experimental weapon designed for military use, and

  the patent’s reference to “DEFENCE” was clearly a reference to military defense,

  not personal defense. As this account confirms, it was likely never even

  manufactured beyond perhaps a prototype. It was a failed effort, even though later

  gun inventors learned from its failure.

        40.    The Jennings multi-shot flintlock rifle from 1821, capable of firing up

  to twelve “superposed” shots before reloading, 69 is also cited as an early multi-shot

  gun. Yet according to Flayderman’s Guide to Antique American Firearms, its

  production quantity was so small as to be “unknown” and therefore is “extremely


  65
     Ibid., 219-20.
  66
     Ellis, The Social History of the Machine Gun, 13.
  67
     Winant, Firearms Curiosa, 219-21. See also “The Puckle Gun: Repeating
  Firepower in 1718,” December 25, 2016,
  https://www.youtube.com/watch?v=GPC7KiYDshw.
  68
     Rasenberger, Revolver, 3.
  69
     Kopel, “The History of Firearm Magazines and Magazine Prohibitions,” 853.
                                            33
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  rare,” unsurprising since it utilized fatally defective “superposed” firing (discussed

  earlier) relying on twelve individual touchholes.70 Similar problems plagued or

  doomed multi-shot flintlock pistols of the early nineteenth century. According to

  Carl P. Russell: “Flintlock revolving pistols had been given trials and some

  practical use very early in the nineteenth century, but the loose priming powder in

  the pan of each cylinder constituted a hazard that was never eliminated.”71

        41.    Another example often cited is the Girandoni (or Girardoni) air rifle, a

  military weapon developed for crack shots in the Austrian army that was capable of

  firing up to 20 rounds. One of these was taken along on the Lewis and Clark

  expedition of 1804-1806.72 But these guns were a rarity, as they were extremely

  expensive, fragile, and complex, and few were made—no more than about 1,500. 73

  In fact, the rifles never caught on as they proved to be impractical on the battlefield,

  70
     Norm Flayderman, Flayderman’s Guide to Antique American Firearms, 9th ed.
  (Iola, IA: Gun Digest Books, 2007), 683.
  71
     Carl P. Russell, Guns on the Early Frontier (Lincoln, NE: University of Nebraska
  Press, 1957), 91.
  72
     David Kopel, “The history of magazines holding 11 or more rounds: Amicus
  brief in 9th Circuit,” Washington Post, May 29, 2014,
  https://www.washingtonpost.com/news/volokh-conspiracy/wp/2014/05/29/the-
  history-of-magazines-holding-11-or-more-rounds-amicus-brief-in-9th-circuit/. The
  Girandoni air gun taken by Lewis and Clark was never used in combat or battle, but
  to impress the Native Americans they encountered. Whenever they planned to fire
  the gun, they were careful to prepare it before encountering Native Americans so
  that they were not aware of the extensive pre-fire preparations needed. See Stephen
  E. Ambrose, Undaunted Courage (NY: Simon and Schuster, 1996), 158, 160, and
  passim.
  73
     Mike Markowitz, “The Girandoni Air Rifle,” DefenseMediaNetwork, May 14,
  2013, https://www.defensemedianetwork.com/stories/the-girandoni-air-rifle/.
                                            34
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  and even more so for civilian use. To wit: “Leather gaskets needed to be constantly

  maintained and swelled with water to sustain pressure. Once empty the reservoirs

  required a significant effort and 1500 strokes to restore full power. A supply wagon

  was subsequently outfitted with a mounted pump to readily supply soldiers but this

  negated one of the key features—mobility. The rudimentary fabrication methods of

  the day engineered weak threading on the reservoir neck and this was the ultimate

  downfall of the weapon. The reservoirs were delicate in the field and if the riveted

  brazed welds parted the weapon was rendered into an awkward club as a last

  resort.”74 It was pulled from military service by 1815. 75

        42.    To take another example, the Volcanic repeating pistol, patented in

  1854, was said to have the ability to fire up to “ten or greater rounds.”76 The

  Volcanic Repeating Arms Company was founded in 1855, and it experimented with

  a number of design innovations. But the company was “short-lived” and went

  “defunct” in 1866, even though its partners included Horace Smith, Daniel B.

  Wesson, and Courtlandt Palmer.77 Its patent and technological work were

  important for subsequent developments, especially for Smith and Wesson’s later


  74
     John Paul Jarvis, “The Girandoni Air Rifle: Deadly Under Pressure,” GUNS.com,
  March 15, 2011, https://www.guns.com/news/2011/03/15/the-girandoni-air-rifle-
  deadly-under-pressure.
  75
     Markowitz, “The Girandoni Air Rifle.”
  76
     Declaration of Ashley Hlebinsky, Miller v. Becerra, 6 (Plaintiffs’ Trial Exhibit
  2).
  77
     Pamela Haag, The Gunning of America (NY: Basic Books, 2016), 51-52.
                                            35
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  work, but the actual weapons produced by Volcanic were few, flawed, and

  experimental,78 dubbed “radical defects” by Winchester himself. 79 In 1857 and

  1858, Volcanic produced 3,200 “flawed” repeaters, most of which “collected dust

  for many decades” until the company finally sold them for fifty cents each to

  employees.80

        43.    Another account laboring to establish early gun firing provenance

  asserts that “[s]emi-automatic technology was developed in the 1880s” with the

  “Mannlicher rifle. . . generally attributed to be the first semi-automatic rifle.”81 Yet

  this “development” was initially a failure: “Ferdinand von Mannlicher’s Model

  1885 self-loading rifle design” was “a failure, never seeing anything even

  resembling mass production.”82 The true semi-automatic weapon did not become

  feasible and available until the beginning of the twentieth century, and the primary

  market was the military. 83




  78
     “Volcanic Repeating Arms,” https://military-
  history.fandom.com/wiki/Volcanic_Repeating_Arms, n.d.; Flayderman,
  Flayderman’s Guide to Antique American Firearms, 303-5.
  79
     Quoted in Haag, The Gunning of America, 56.
  80
     Haag, The Gunning of America, 60.
  81
     Declaration of Ashley Hlebinsky, Miller v. Becerra, 8 (Plaintiffs’ Trial Exhibit
  2).
  82
     Ian McCollum, “Mannlicher 1885 Semiauto Rifle,” Forgotten Weapons, May 6,
  2015, https://www.forgottenweapons.com/mannlicher-1885-semiauto-rifle/.
  83
     Philip Schreier, “A Short History of the Semi-Automatic Firearm,” America’s 1st
  Freedom, July 2022, 32-39.
                                             36
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        44.    The more well-known “pepperbox,” a multi-shot firearm where the

  number of shots capable of being fired repeatedly coincided with the number of

  barrels bundled together, found some civilian market popularity in the early 1800s,

  but it was rapidly eclipsed by the superior Colt revolver. The reason: pepperboxes

  were “heavy, lumpy, and impractical.” 84 The addition of more barrels added more

  weight to the gun. By another account, “because of its small bore, short range, and

  lack of accuracy, the pepperbox was by no means as satisfactory as a revolver for

  military use.”85 Further, “[t]hey also had a nasty habit of discharging all their

  barrels at once. No shooter could be certain he would not get two or three innocent

  bystanders, as well as his intended victim.”86 Indeed, the Colt revolver was “the

  first widely used multishot weapon,” 87 although it took decades for this and similar

  revolvers to catch on.

        45.    Colt’s technological developments notwithstanding, single shot guns

  were the ubiquitous firearm until after the Civil War, although some long gun

  repeaters appeared late in the Civil War.88 Even so, the “standard infantry weapon



  84
     Rasenberger, Revolver, 54.
  85
     Lewis Winant, Pepperbox Firearms (New York: Greenberg Pub., 1952), 30.
  86
     Larry Koller, The Fireside Book of Guns (NY: Simon and Schuster, 1959), 154.
  By another account, “it was a disconcerting but not uncommon experience to have
  all six barrels go off in unison.” Winant, Pepperbox Firearms, 32.
  87
     Rasenberger, Revolver, 401.
  88
     Kopel, “The history of magazines holding 11 or more rounds”; Kennett and
  Anderson, The Gun in America, 112-13.
                                            37
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  [in the Civil War] remained the single-shot, muzzle-loaded weapon.”89 Historian

  James M. McPherson concurred that, even though some repeating rifles appeared in

  the Civil War as early as 1863, single-shot muzzle-loaders “remained the principal

  infantry weapons throughout the war.”90

        46.    As noted, the idea of an available, affordable, reliable multi-shot

  firearm did not arise until the development of Colt’s multi-shot revolver in the

  1830s. Indeed, Colt biographer Jim Rasenberger says that Colt’s pistol was the first

  practical firearm that could shoot more than one bullet without reloading.91 Even

  then, Colt could not readily manufacture multi-shot weapons for many years

  because he could find no market for them, either from the government or the public.

  The government, in fact, dismissed such firearms as mere “novelties.” 92 After an

  1837 test of Colt’s gun and others the government concluded that it was “entirely

  unsuited to the general purposes of the service.” 93 The government also rejected the

  weapon after tests in 1836, 1840, and 1850. Colt’s early failure to cultivate either a

  military or a civilian market in the U.S. drove him to bankruptcy and then to market

  his guns to European governments in the 1840s. The gun made appearances in the

  pre-Civil War West, yet even during the Civil War, “Colt’s revolver was a sideshow

  89
     Snow and Drew, From Lexington to Desert Storm, 90.
  90
     James M. McPherson, Battle Cry of Freedom (NY: Oxford University Press,
  1988), 475.
  91
     Rasenberger, Revolver, 3-5, 401.
  92
     Pamela Haag, The Gunning of America (NY: Basic Books, 2016), 24.
  93
     Rasenberger, Revolver, 136.
                                            38
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  through most of the war. . . .” 94 And though the Colt-type revolver “had proved

  itself, the official sidearm of the United States Army [in the Civil War] remained a

  single shot pistol.”95 It took the Colt’s limited use during the Civil War to finally

  spur the post-Civil War proliferation of the Colt-type revolver and similar firearms

  into society. 96

         47.    While inventor Benjamin Henry claims credit for developing the first

  practical, lever action repeating rifle (patented in 1860), his competitor Winchester

  “deftly gutted” the Henry Arms Company, coopting it to form the Winchester Arms

  Company in 1866, paving the way for Winchester’s dominance.97 The Winchester

  rifle could fire up to fifteen rounds without reloading, as could the Henry repeater.98

  Yet the widely known Winchester 1873, “was designed for sale to the Government

  as a military arm.”99 A gun whose legendary status wildly outdistanced its actual

  production and impact, it was nevertheless an important firearm in the late

  nineteenth century, although this “quintessential frontier rifle flourished later, in the

  ‘post-frontier’ early 1900s. Its celebrity biography backdated its diffusion and even



  94
     Ibid., 390.
  95
     Kennett and Anderson, The Gun in America, 91.
  96
     Haag, The Gunning of America, 34-37, 46-64. As Haag said, “the Civil War
  saved” the gun industrialists (65).
  97
     Haag, The Gunning of America, 96.
  98
     “Henry Model 1860,” Military Factory,
  https://www.militaryfactory.com/smallarms/detail.php?smallarms_id=356.
  99
     Koller, The Fireside Book of Guns, 112.
                                             39
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  its popularity.”100 In fact, the slogan stating that the Winchester “won the West”

  was invented by a Winchester executive as a marketing ploy in 1919.101 An

  analysis of production runs of Henrys and Winchesters from 1861-1871 concluded

  that they produced a total of 74,000 guns. Most of them—about 64,000—were sold

  to foreign militaries, leaving about 9200 for domestic American sales. Of those,

  8500 were acquired by Union soldiers, leaving a very small supply of guns for

  domestic civilian acquisition. 102 By comparison, 845,713 Springfield “trap-door”

  single shot rifles were manufactured during this same time period.103 Additionally,

  the Winchester was not a semi-automatic firearm; it was a lever-action rifle that

  required the shooter to manipulate a lever in a forward-and-back motion before

  each shot. And when the gun was emptied, it had to be manually reloaded, one

  round at a time. 104 The Winchester Model 1905, then called a “self-loading” rifle,

  was a true semi-automatic firearm. It could receive a five or ten round box


  100
      Haag, The Gunning of America, 179.
  101
      Ibid., 353.
  102
      Herbert G. Houze, Winchester Repeating Arms Company: Its History &
  Development from 1865 to 1981 (Iola, WI: Krause Publications, 2004), 21, 36–41,
  51, 59, 65–66, 71, 73, 75; Tom Hall to D. C. Cronin, New Haven, May 18, 1951;
  Box 8, folder 16, Winchester Repeating Arms Company, Office files (MS:20),
  McCracken Research Library, Cody, WY.
  103
      According to an account of the Springfield, “The end of the Trapdoor series
  came in 1892, when the government adopted a bolt-action repeating rifle known as
  the Krag-Jorgensen.” “The Trap Door Rifle,” National Park Service, July 22, 2020,
  https://www.nps.gov/spar/learn/historyculture/trapdoor-rifle.htm.
  104
      Normally, a Remington-type rifle is loaded from a feed ramp on the side of the
                                           40
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  magazine, although from 1905 to 1920 only about 30,000 of the guns were made.

  Even in World War I, soldiers primarily used bolt-action one shot rifles that could

  fire about twelve rounds per minute.105

        48.    With all this, the Winchester was by no means universally embraced

  by long gun users. Indeed, “a good many westerners would have nothing to do with

  the early Winchesters or other repeaters, for reasons they considered very sound,

  and not until the 1880s did the repeating rifle assert its dominance over the single-

  shot breechloader.”106 According to A.C. Gould, writing in 1892, single-shot rifles

  were: “less complicated, and less liable to get out of order; will shoot a greater

  variety of ammunition; will shoot uncrimped ammunition, patched or unpatched

  bullets; will permit the use of a longer barrel; an explosive bullet can be used; a

  greater range of rear sights on tang can be used.” 107 Historian Vorenberg confirms


  rifle.
  105
      Robert Johnson and Geoffrey Ingersoll, “It’s Incredible How Much Guns Have
  Advanced Since The Second Amendment,” Military & Defense, December 17,
  2012, https://finance.yahoo.com/news/incredible-much-guns-improved-since-
  174927324.html; Phil Bourjaily, “Blast From the Past: Winchester Model 1905,”
  Field & Stream, January 11, 2019, https://www.fieldandstream.com/blast-from-
  past-winchester-model-1905/.
  106
      Louis A. Garavaglia and Charles G. Worman, Firearms of the American West,
  1866-1894 (Albuquerque, NM: University of New Mexico Press, 1985), 129.
  Historian Michael Vorenberg says that “Henrys and Winchesters were. . . repeating
  rifles, but because they were in a class of their own, due to their high capacity, they
  were generally known only as Henrys or as Winchesters.” Declaration of Michael
  Vorenberg, 7.
  107
      Quoted in Garavaglia and Worman, Firearms of the American West, 1866-1894,
  131.
                                            41
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  this analysis: “There were civilians during Reconstruction who owned high-

  capacity rifles, to be sure. Yet almost all such civilians were ‘frontiersmen’ of the

  Western Territories, and the population of the Western Territories was tiny

  compared to the population of the United States as a whole. Furthermore, Henrys

  and Winchesters, the only high-capacity firearms of the era, were not the preferred

  firearms of the ‘frontiersmen’ of the region.” 108

        49.    The rise in the circulation of multi-shot handguns in society was

  accompanied by the rapid spread of concealed carry restrictions (see Exhibits B-E),

  especially in the post-Civil War period, precisely because of their contribution to

  escalating interpersonal violence.109 By the end of the nineteenth century, virtually

  every state in the country prohibited or severely restricted concealed gun and other

  weapons carrying. 110 In addition, in the late 1800s and early 1900s at least a half-

  dozen states barred possession of such weapons outright, regardless of other

  circumstances.111 As discussed earlier, it was only in the post-World War I era


  108
      Declaration of Michael Vorenberg, 48, National Association for Gun Rights v.
  Campbell, No. 1:22-cv-1143, Dkt. 21-11, ¶ 51 (D. Mass., dated Jan. 25, 2023).
  109
      Dickson D. Bruce, Violence and Culture in the Antebellum South (Austin, TX:
  University of Texas Press, 1979); Randolph Roth, American Homicide (Cambridge,
  MA: Belknap Press, 2012), 218-19.
  110
      Spitzer, “Gun Law History in the United States and Second Amendment Rights,”
  63-67.
  111
      1917 Cal. Sess. Laws 221-225; 1923 Cal. Stat. 695; Illinois Act of Apr. 16,
  1881, as codified in Ill. Stat. Ann., Crim. Code, chap. 38 (1885) 88; Geoffrey
  Andrew Holmes, Compiled Ordinances of the City of Council Bluffs, and
  Containing the Statutes Applicable to Cities of the First-Class, Organized under the
                                             42
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  when multi-shot semi-automatic and fully automatic long guns began to circulate

  appreciably in society and came to be associated with criminal use that they became

  a regulatory and public policy concern.

        50.    As noted earlier, the problems with arguments claiming that historical

  multi-shot weapons were both viable and commonly possessed before the late

  nineteenth century are two-fold: they misrepresent the actual past of the weapons

  cited, and even more importantly fail to understand the connection between gun

  technology developments and the steps leading up to changes in gun-related public

  policy to regulate threats posed by those developments. As discussed previously,

  that process has occurred, both historically and in the modern era, through a series

  of sequential steps.

        51.    First, a new gun or gun technology must be invented. Second, it is

  then normally patented, noting that there are many steps between a patent, actual

  gun production, distribution and dissemination. As Lewis Winant sardonically



  Laws of Iowa Page 206-207, Image 209-210 (1887) § 105; William H. Baily, The
  Revised Ordinances of Nineteen Hundred of the City of Des Moines, Iowa Page 89-
  90, Image 89-90 (1900) § 209; 1883 Kan. Sess. Laws 159, §§ 1-2; George R.
  Donnan, Annotated Code of Criminal Procedure and Penal Code of the State of
  New York as Amended 1882-5 Page 172, Image 699 (1885) § 410; 1913 N.Y. Laws
  1627-30, vol. III, ch. 608, § 1; 1931 N.Y. Laws 1033, ch. 435, § 1; 1915 N.D. Laws
  96, ch. 83, §§ 1-3, 5; 1923 S.C. Acts 221. Not included in this list are other state
  laws that barred weapons possession to specific groups (Native Americans,
  enslaved persons, minors) or that criminalized weapons possession by individuals if
  they committed a crime with the listed weapons.
                                            43
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  observed, “Many patents are granted for arms that die a-borning.” 112 And as gun

  expert Jack O’Connor wrote, “many types of guns were invented, produced and

  discarded through the early years of the development of the United States.” 113

  Third, weapons development is historically tied to military need and military

  acquisition, not directly for civilian use or self-defense applications. Military

  weaponry is developed without consideration of potential civilian use and the

  consequences of dissemination in the civilian market.114 Fourth, some military-

  designed weapons may then spill over into, or be adapted to, civilian markets and

  use. Fifth, if such weapons then circulate sufficiently to pose a public safety or

  criminological problem or threat, calls for government regulation or restriction then

  may lead to gun policy/law changes. This general sequence is echoed in works like

  the Buyer’s Guide to Assault Weapons, a standard reference work on assault

  weapons. 115



  112
      Winant, Firearms Curiosa, 36.
  113
      Jack O’Connor, Complete Book of Rifles and Shotguns (NY: Harper & Row,
  1961), 42.
  114
      Note that the third step, and perhaps the second, do not apply to non-firearms
  weapons discussed here—in particular, the Bowie knife and various clubs. These
  weapons were mostly not developed for military use, though Bowie knives, for
  example, were carried by some soldiers during the Civil War. Knives and clubs are
  far simpler technologically compared to firearms (and of course do not rely on
  ammunition) and thus were much more easily made, reproduced, and circulated.
  115
      Phillip Peterson, Buyer’s Guide to Assault Weapons (Iola, IA: Gun Digest
  Books, 2008), 4-7. Peterson’s Foreword summarizes a similar relationship between
  weapons development and subsequent calls for regulation.
                                            44
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        52.    Again, to simply assert or assume that past firearms

  design/development, invention, or patenting equals commonality, viability, or a

  measurable presence or impact on society, is a leap in logic without historical

  foundation. It would be as logical to reject modern governmental regulation of

  electric power through such government agencies as state power commissions and

  the Federal Energy Regulatory Commission because no such regulation was

  enacted around the time of Benjamin Franklin’s experiments with electricity in the

  mid-eighteenth century. The fact that inventors worked on new firearm designs and

  modifications tells us nothing about the consequences of such designs for society

  and public policy. And the existence of such designs does not equal technological

  viability or reliability, much less general availability, much less societal circulation

  and use of these weapons. Other weapons subject to government restriction in our

  history further illustrate these principles.

        E.     Clarifying Terms and Concepts
        53.    These recent efforts to restrict assault weapons and LCMs are simply

  the latest chapter in a centuries-long effort to promote public safety, protect the

  public from harm, and to dampen weapons-related criminality. The pattern of

  criminal violence and concerns for public safety leading to weapons restrictions is

  not new; in fact, it can be traced back to the Nation’s beginnings. While the

  particular weapons technologies and public safety threats have changed over time,

  governmental responses to the dangers posed by certain weapons have remained
                                                 45
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  constant. Current restrictions on assault weapons and detachable ammunition

  magazines are historically grounded. They are part of a pattern in America’s

  history of legislative restrictions on particular weapons stretching back centuries.

         54.    The Plaintiffs’ Amended Complaint asserts that the term “‘assault

  pistol’. . . is not a technical term used in the firearms industry or community for

  firearms commonly available to civilians. Instead, the term is a rhetorically charged

  political term meant to stir the emotions of the public. . . .” 116

         55.    This assertion is incorrect. The terms “assault weapon,” “assault rifle,”

  and “assault pistol” were the very terms used by the gun companies that first

  produced, marketed, and sold such weapons to the public. The gun industry’s use of

  these terms appeared in the early 1980s (well before 1989), before political efforts

  to regulate them emerged in the late 1980s and early 1990s.117

         56.    A study of the marketing strategies employed by gun manufacturers

  and gun publications from the time that such weapons emerged in the American

  civilian market in a significant way in the early 1980s verifies this. It reports on,

  and quotes directly from gun company advertisements and gun magazines

  employing these terms such as: Intratec extolling its TEC-9 in an advertisement

  116
      Plaintiff Amended Complaint, National Association for Gun Rights and
  Rondelle Ayau and Jeffrey Bryant, No. 22-cv-00404 DKW-RT.
  117
      Violence Policy Center, The Militarization of the U.S. Civilian Arms Market,
  June 2011, http://www.vpc.org/studies/militarization.pdf#page=33; also Violence
  Policy Center, Assault Weapons and Accessories in America, 1988,
  http://www.vpc.org/studies/awacont.htm; http://www.vpc.org/studies/thatintr.htm.
                                              46
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  saying that the gun “clearly stands out among high capacity 9mm assault-type

  pistols” (see Exhibit I); Heckler and Koch selling its “HK 91 Semi-Automatic

  Assault Rifle”; the “Bushmaster assault rifle”; the AKM “imported assault rifle”;

  the Beretta M-70 that “resembles many other assault rifles”; the AR-10/XM-10

  (made by Paragon S&S Inc.) advertised as a “Famous Assault Rifle [that] is Now

  Available in a Semi Auto Civilian Legal Form!” (see Exhibit J); the “AMT 25/.22

  Lightning Carbine” that was advertised as an “assault-type semi-auto”; and the

  after-market supplier Assault Systems that appealed to civilian owners of “assault

  weapons,” among many other examples. The use of military terminology, and the

  weapons’ military origins, character, and appearance, were key to marketing the

  guns to the public.118 Guns & Ammo magazine described the “success of military

  assault rifles in the civilian market” in its July 1982 issue. 119 In 1984, Guns &

  Ammo advertised a book called Assault Firearms that the magazine extolled as “full

  of the hottest hardware available today.” 120

        57.    As a standard buyer’s guide on assault weapons noted, the “popularly-

  held idea that the term ‘assault weapon’ originated with anti-gun activists, media or


  118
      Tom Diaz, Making a Killing (NY: The New Press, 1999), 124–128, 230–231;
  Tom Diaz, The Last Gun (New York: The New Press, 2013), 142–43.
  119
      “Wooters Chooses the 10 Best Gun Designs,” Guns & Ammo, July 1982, 58, 68;
  Diaz, Making a Killing, 126.
  120
      Erica Goode, “Even Defining ‘Assault Rifles’ Is Complicated,” New York Times,
  January 17, 2013, A1, https://www.nytimes.com/2013/01/17/us/even-defining-
  assault-weapons-is-complicated.html.
                                             47
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  politicians is wrong. The term was first adopted by the manufacturers, wholesalers,

  importers and dealers in the American firearms industry . . . .” 121 The more

  expansive phrase “assault weapon” is generally used over “assault rifle” or "assault

  pistol" because “weapon” also includes not only rifles but those shotguns and

  handguns that were also subject to regulation in the federal 1994 assault weapons

  ban and subsequent laws.

        58.    An article in Outdoor Life belied the claim that assault weapons are

  limited only to those that fire fully automatically. That article urged its readers to

  share its information with non-shooting friends to dispel “myths” about “assault

  weapons.” In its account, it correctly noted that “the term ‘assault weapon’ . . .

  generally referred to a type of light infantry firearm initially developed in World

  War II; a magazine-fed rifle and carbine suitable for combat, such as the AK-47 and

  the M16/M4. These are selective-fire weapons that can shoot semi-auto, full-auto,

  or in three-round bursts.”122

        59.    The effort to rebrand “assault weapons” as something more benign and

  severed from its military origins was seen in the publication struggles of Phillip

  Peterson, whose book, titled as recently as 2008, Gun Digest Buyer’s Guide to


  121
      Phillip Peterson, Gun Digest Buyer’s Guide to Assault Weapons (Iola, WI: Gun
  Digest Books, 2008), 11.
  122
      John Haughey, “Five Things You Need to Know About ‘Assault Weapons’,”
  Outdoor Life, March 19, 2013, http://www.outdoorlife.com/blogs/gun-
  shots/2013/03/five-things-you-need-know-about-assault-weapons.
                                             48
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  Assault Weapons, 123 is a well-known reference work on the subject. As Peterson

  explained, the gun industry “moved to shame or ridicule” those who used the phrase

  “assault weapons,” insisting that the term should now only apply to fully automatic

  weapons. Peterson noted that the origin of the term “assault weapon” was the

  industry itself.124 He found that the NRA refused to sell his book until he changed

  the title, which in 2010 he renamed Gun Digest Buyer’s Guide to Tactical Rifles. 125

  The very same pattern played out in Canada, where gun companies also used the

  term “assault rifle” in the 1970s and 1980s until political pressure began to build to

  restrict such weapons in the aftermath of a mass shooting in Montreal in 1989. By

  the 1990s, gun companies marketing guns in Canada and their allies also adopted

  terms like “modern sporting rifles.”126

        60.      The Plaintiffs Complaint also questions the restriction on large

  capacity magazines (LCMs) holding more than ten rounds. But this is not a new

  designation.

  123
      Peterson, Gun Digest Buyer’s Guide to Assault Weapons.
  124
      Goode, “Even Defining ‘Assault Rifles’ Is Complicated.”
  125
      Phillip Peterson, Gun Digest Buyer’s Guide to Tactical Rifles (Iola, WI: Gun
  Digest Books, 2010).
  126
      According to Blake Brown, Canadian newspapers ran ads from gun companies
  selling weapons like the “AR-15 semi-automatic assault rifle,” the “Colt AR-15
  Semi Auto Assault Rifle,” and the “SKS Assault Rifle” among others, in 1976,
  1982, 1983, 1985, and 1986 from dealers and companies including MilArm, Colt,
  and Ruger. “Gun Advocates’ Changing Definition of ‘Assault Rifles’ is Meant to
  Sow Confusion,” Toronto Globe and Mail, May 21, 2020,
  https://www.theglobeandmail.com/opinion/article-gun-advocates-changing-
  definition-of- assault-rifles-is-meant-to-sow/.
                                             49
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        61.    First, the LCM definition of one holding ten or more rounds dates back

  to at least 1991,127 in an early version of the law Congress eventually passed in

  1994 that said the term “large capacity ammunition feeding device” was defined in

  the law as “a magazine, belt, drum, feed strip, or similar device that has a capacity

  of, or that can be readily restored or converted to accept, more than 10 rounds of

  ammunition. . . .” 128 Since that time, eleven states plus the District of Columbia

  have adopted the LCM ten round limit (see earlier discussion).

        62.    Second, the definition of LCMs based on a ten round limit has been

  and is widely accepted and used in the scholarly literature in criminology and other

  fields examining such devices. 129 Third, as Table 1 and the accompanying


  127
      Violent Crime Control and Law Enforcement Act of 1994, H.R. REP. 103-489,
  H.R. Rep. No. 489, 103RD Cong., 2ND Sess. 1994, 36.
  128
      Violent Crime Control and Law Enforcement Act of 1994, 6.
  129
      For example: Gregg Lee Carter, ed., Guns in American Society, 3 vols. (Santa
  Barbara, CA: ABC-CLIO, 2023), III, 426-29; Jaclyn Schildkraut and Tiffany Cox
  Hernandez, “Laws That Bit The Bullet: A Review of Legislative Responses to
  School Shootings,” American Journal of Criminal Justice 39, 2 (2014): 358-74;
  Luke Dillon, “Mass Shootings in the United States: An Exploratory Study of the
  Trends from 1982-2012,” Mason Archival Repository Service, George Mason
  University, May 22, 2014, http://mars.gmu.edu/xmlui/handle/1920/8694; Jaclyn
  Schildkraut, “Assault Weapons, Mass Shootings, and Options for Lawmakers,”
  Rockefeller Institute of Government, March 22, 2019, https://rockinst.org/issue-
  area/assault-weapons-mass-shootings-and-options-for-lawmakers/; Christopher
  Koper, et al., “Assessing the Potential to Reduce Deaths and Injuries from Mass
  Shootings Through Restrictions on Assault Weapons and Other High-Capacity
  Semiautomatic Firearms,” Criminology & Public Policy, 19(February 2020): 157;
  Philip J. Cook and Kristin A. Goss, The Gun Debate, 2nd ed. (NY: Oxford
  University Press, 2020), 201.

                                            50
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  discussion in this document shows, from 1917 to 1934 roughly half of the states in

  the U.S. enacted laws that restricted various ammunition feeding devices, or guns

  that could accommodate them, based on a set number of rounds, though the

  numerical cap for gun firing without reloading varied at that time from more than a

  single round up to eighteen (the modern standard for the most part became ten

  rounds, rather like the way in which highway speed limits came to be set at 55 miles

  per hour on open two-lane roads, and 65 to 70 miles per hour on four-lane divided

  highways). Thus, the idea of restricting removable magazines by capping the

  number of rounds dates back a century.

  III.   HISTORICAL HARDWARE RESTRICTIONS ON KNIVES, BLUNT WEAPONS,
         PISTOLS, AND TRAP GUNS
         63.   Similar to government regulation of certain types of firearms and

  ammunition feeding devices in the early twentieth century, which occurred only

  after the weapons technologies matured, entered the civilian market, and threatened

  the public through criminal use, government regulation of other weapons typically

  followed a version of this trajectory during the 1700s and 1800s. Even though, as

  discussed earlier, serious crimes became more widespread in the early 1800s,

  specific crime-related concerns that involved dangerous weapons led to legislative

  enactments in the late 1700s and early 1800s. For example, from 1780-1809, at

  least four states (Connecticut, Ohio, New Jersey, Maryland) enacted measures that

  increased the penalties for burglaries or other crimes if the perpetrators were

                                            51
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  armed.130 At least three states (New York, Ohio, Maryland) enacted laws to punish

  the discharge of firearms near populated areas.131 At least four states (Virginia,

  Massachusetts, North Carolina, Tennessee) criminalized public arms carrying.132

  Other examples of restrictions of specific types of weapons are discussed in this

  section.
  130
     1783 Conn. Acts 633, An Act For The Punishment of Burglary And Robbery;
  1788-1801 Ohio Laws 42, An Act for Suppressing and Prohibiting Every Species of
  Gaming for Money or Other Property, and for Making Void All Contracts and
  Payments Made in Furtherance Thereof, ch. 13, § 4. 1788; Charles Nettleton, Laws
  of the State of New-Jersey Page 474, Image 501 (1821) available at The Making of
  Modern Law: Primary Sources. 1799 [An Act to Describe, Apprehend and Punish
  Disorderly Persons (1799)], § 2; The Laws Of Maryland, With The Charter, The
  Bill Of Rights, The Constitution Of The State, And Its Alterations, The Declaration
  Of Independence, And The Constitution Of The United States, And Its
  Amendments Page 465, Image 466 (1811) available at The Making of Modern Law:
  Primary Sources, 1809.

    James Kent, Laws of the State of New-York Page 41-42, Image 44-45 (Vol. 1,
  131

  1802-1812) available at The Making of Modern Law: Primary Sources, 1785; An
  Act of April 22, 1785, An Act to Prevent the Firing of Guns and Other Fire-Arms
  within this State, on certain days therein mentioned; 1788-1801 Ohio Laws 42, An
  Act for Suppressing and Prohibiting Every Species of Gaming for Money or Other
  Property, and for Making Void All Contracts and Payments Made in Furtherance
  Thereof, ch. 13, § 4. 1788; 1792 Md. Laws 22, A Supplement To An Act Entitled,
  An Act to Improve and Repair the Streets in Elizabethtown, in Washington County,
  and For Other Purposes Therein Mentioned, chap. 52, § 4.
  132
     1786 Va. Laws 33, ch. 21, An Act forbidding and punishing Affrays; 1786 Mass.
  Sess. Laws An Act to Prevent Routs, Riots, and Tumultuous assemblies, and the
  Evil Consequences Thereof; Francois Xavier Martin, A Collection of Statutes of the
  Parliament of England in Force in the State of North Carolina, 60-61 (Newbern
  1792); Judge Edward Scott, Laws of the State of Tennessee: Including Those of
  North Carolina Now in Force in this State: From the Year 1715 to the Year 1820,
  Inclusive Page 710, Image 714 (Vol. 1, 1821) The Making of Modern Law: Primary
  Sources. 1801, An Act for the Restraint of Idle and Disorderly Persons § 6.

                                            52
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        A.  Historical Restrictions on the Bowie Knife and Similar Long-
            Bladed Knives
         64. The Bowie knife is generally credited with having been invented by

  the brother of adventurer Jim Bowie, Rezin Bowie. The knife was named after Jim

  Bowie, who reputedly killed one man and wounded another using a “big knife”

  given to him by his brother in the alternately notorious or celebrated “Sandbar

  Duel” in 1827.133

         65.   The “Bowie knife” rapidly became known beginning in the 1830s for

  the distinctive type of long-bladed and usually single-edged knife with a hand guard

  identified with Bowie, the man after whom the knife was named. While Bowie

  knives initially “came in a variety of forms—with or without guards, with

  differently shaped blades,” they eventually became more standardized as “a large

  knife with a cross guard and a blade with a clipped point.” 134 The distinctive traits

  of the Bowie knife are revealed in Robert Abels’ book, Bowie Knives, which


  133
      “Bowie Knife,” Encyclopedia of Arkansas, n.d.,
  https://encyclopediaofarkansas.net/entries/bowie-knife-2738; William C. Davis,
  Three Roads to the Alamo (NY: HarperCollins, 1998), 207-8. Davis persuasively
  dismisses the claim of a blacksmith, James Black, that he invented or styled the
  distinctive knife for Rezin Bowie (676–77). David Kopel says, erroneously, that
  “Jim Bowie used a traditional knife at a famous ‘sandbar fight’ on the lower
  Mississippi River in 1827.” Rezin Bowie had just developed the distinctive knife
  his brother used in the fight, so it could not have been “traditional.” David Kopel,
  “Bowie knife statutes 1837-1899,” The Volokh Conspiracy, Nov. 20, 2022,
  https://reason.com/volokh/2022/11/20/bowie-knife-statutes-1837-1899.
  134
      “Bowie Knife,” Encyclopedia of Arkansas, n.d.,
  https://encyclopediaofarkansas.net/
  entries/bowie-knife-2738.
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  includes pictures of nearly one hundred such knives made between 1835 and

  1890. 135 The Bowie legend, the explosive growth and spread of Bowie-related

  mythology (only magnified by his 1836 death at the Alamo), and the knife’s

  distinctive features, encouraged its proliferation, 136 referred to by one historian as

  “the craze for the knives.” 137 As was true of other knives with long, thin blades, 138

  they were widely used in fights and duels, especially at a time when single-shot

  pistols were often unreliable and inaccurate. 139 Indeed, such knives were known as

  “fighting knives”140 that were “intended for combat.”141 In the early nineteenth

  century “guns and knives accounted for a growing share of the known weapons that

  whites used to kill whites.” 142 In 1834, for example, a grand jury in Jasper County,

  Georgia deplored

        the practice which is common amongst us with the young the middle aged
        and the aged to arm themselves with Pistols, dirks knives sticks & spears
        under the specious pretence of protecting themselves against insult, when in

  135
      Robert Abels, Bowie Knives (NY: Abels, 1979).
  136
      Virgil E. Baugh, Rendezvous at the Alamo (Lincoln, NE: University of Nebraska
  Press, 1985), 39–63.
  137
      Davis, Three Roads to the Alamo, 583.
  138
      Other such long-bladed, thin knives of varying configurations typically named in
  laws barring their carrying included the Arkansas toothpick, the Spanish stiletto,
  dirks, daggers, and the like.
  139
      Davis, Three Roads to the Alamo, 164, 208; Baugh, Rendezvous at the Alamo,
  42; Karen Harris, “Bowie Knives: The Old West’s Most Famous Blade,” Oldwest,
  n.d., https://www.oldwest.org/bowie-knife-history/; Norm Flayderman, The Bowie
  Knife (Lincoln, RI: Andrew Mowbray, 2004), 485.
  140
      Roth, American Homicide, 218.
  141
      Flayderman, The Bowie Knife, 59.
  142
      Roth, American Homicide, 218.
                                             54
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        fact being so armed they frequently insult others with impunity, or if
        resistance is made the pistol dirk or club is immediately resorted to, hence we
        so often hear of the stabbing shooting & murdering so many of our
        citizens. 143


        66.    Homicide rates increased in the South in the early nineteenth century,

  as did laws restricting concealed weapons carrying. Dueling also persisted during

  this time, even as the practice was widely deplored by religious and other groups, in

  newspapers, by anti-dueling societies and political leaders.144 Bowie knife writer

  Norm Flayderman provides abundant and prolific evidence of the early criminal use

  of Bowie knives in the 1830s, quoting from dozens of contemporaneous newspaper

  and other accounts, and providing references to literally hundreds of additional

  articles and accounts attesting to the widespread use of Bowie knives in fights,

  duels, brawls and other criminal activities.145 Flayderman concludes that, as early

  as 1836, “most of the American public was well aware of the Bowie knife.” 146

  (Very much like the allure of contemporary assault weapons to some,147 the Bowie




  143
      Quoted in Roth, American Homicide, 218–19.
  144
      Baugh, Rendezvous at the Alamo, 51.
  145
      Flayderman, The Bowie Knife, 25–64; 495–502.
  146
      Ibid., 43.
  147
      Ryan Busse, Gunfight (NY: Public Affairs, 2021), 12–15, 65; David Altheide,
  “The cycle of fear that drives assault weapon sales,” The Guardian, March 2, 2013,
  https://www.theguardian.com/commentisfree/2013/mar/02/cycle-fear-assault-
  weapon-sales; Rukmani Bhatia, “Guns, Lies, and Fear,” American Progress, April
  24, 2019, https://www.americanprogress.org/article/guns-lies-fear.
                                           55
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  knife’s notorious reputation also, if perversely, fanned its sale and acquisition.148)

  All this contributed to widespread enactment of laws prohibiting dueling in the

  states. 149 In 1839, Congress passed a measure barring dueling in the District of

  Columbia. 150 Both pistols and knives were prominently used in such affairs. 151

        67.    At least four state court cases dealt in some manner with fighting

  knives like the Bowie knife. In the 1840 case of Aymette v. State152 the Supreme

  Court of Tennessee upheld the conviction of William Aymette for wearing a Bowie

  knife concealed under his clothes under a state law of 1837–1838, ch. 137, sec. 2,

  providing “that, if any person shall wear any bowie-knife, or Arkansas toothpick, or

  other knife or weapon that shall in form, shape, or size resemble a bowie-knife or

  Arkansas toothpick, under his clothes, or keep the same concealed about his person

  such person shall be guilty of a misdemeanor, and, upon conviction thereof, shall be

  fined in a sum not less than two hundred dollars, and shall be imprisoned in the

  county jail not less than three months and not more than six months.” 153 In its

  decision, the court concluded that the prohibition against wearing the named


  148
      Flayderman, The Bowie Knife, 46.
  149
      A search for the word “duel” in the Duke Center for Firearms Law database of
  old gun laws yields 35 results. See https://firearmslaw.duke.edu/repository/search-
  the-repository.
  150
      H.R. 8, Joint Resolution Prohibiting Dueling, introduced March 5, 1838,
  https://history.house.gov/Records-and-Research/Listing/lfp_032.
  151
      Roth, American Homicide, 180–83, 210–17.
  152
      Cited in District of Columbia v. Heller, 554 U.S. 570 (2008).
  153
      Aymette v. State, 21 Tenn. 152, 153 (Tenn. 1840).
                                             56
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  weapons was well justified in that they “are usually employed in private broils, and

  which are efficient only in the hands of the robber and the assassin.” 154 The court

  continued, “The Legislature, therefore, have a right to prohibit the wearing or

  keeping weapons dangerous to the peace and safety of the citizens. . . .” 155 Further,

  the court added that the state law existed “to preserve the public peace, and protect

  our citizens from the terror which a wanton and unusual exhibition of arms might

  produce, or their lives from being endangered by desperadoes with concealed

  arms. . . .” 156

          68.        Four years later, the Tennessee Supreme Court again dealt with a

  Bowie knife law violation and challenge. In the case of Haynes v. Tennessee

  (1844),157 Stephen Haynes was indicted for carrying a concealed Bowie knife. He

  was convicted of wearing a knife that resembled a Bowie knife but appealed his

  conviction on the grounds that he was actually carrying a “Mexican pirate knife,”

  which reputedly had a shorter, narrower blade. (At the trial, witnesses disagreed as

  to the proper name for the knife in question.) He also argued that the state law, in

  listing various types of knives including those “similar” to Bowie knives, was “too

  indefinite” and could therefore lead to “absurd consequences” that “must follow its



  154
      Ibid., 156.
  155
      Ibid., 157.
  156
      Ibid.
  157
      Haynes v. Tennessee, 24 Tenn. 120 (1844).
                                                57
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  enforcement. . . .” 158 On appeal, the court upheld his conviction and commended the

  Tennessee state legislature’s enactment: “The design of the statute was to prohibit

  the wearing of bowie knives and others of a similar description, which the

  experience of the country had proven to be extremely dangerous and destructive to

  human life; the carrying of which by truculent and evil disposed persons but too

  often ended in assassination.”159 The court continued: “The design, meaning, and

  intent was to guard against the destruction of human life, by prohibiting the wearing

  [of] heavy, dangerous, destructive knives, the only use of which is to kill. . . .” 160

  The court noted that the state law “wisely provides against bowie knives, Arkansas

  tooth picks, or any other weapon in form, shape or size, resembling them.”161

  Noting the similarity among knives and the possibility of an unjust outcome where,

  say, a person might be convicted of carrying a mere pocket knife, the court posed

  this question: “what is to protect against conviction, when the words of the statute

  cover the charge, and its true spirit and meaning does not?” Their answer: “the

  judge and jury who try the case.”162 As the author of a book on Bowie knives noted,




  158
      Haynes v. Tennessee, 122.
  159
      Haynes v. Tennessee, 122.
  160
      Haynes v. Tennessee, 123.
  161
      Haynes v. Tennessee, 122.
  162
      Haynes v. Tennessee, 123.
                                              58
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  “the fact that the term ‘bowie knife’ had never been precisely defined did not help

  his [Haynes’s] case.”163

        69.    Two other state court cases are arguably relevant to the legal status of

  Bowie knives, Nunn v. State (1846)164 and Cockrum v. State (1859). 165 Nunn,

  however, involved a man who was prosecuted for carrying a pistol (apparently

  openly, not concealed), not a knife. A vagary in the state law criminalized

  concealed carry of various named weapons, including pistols and Bowie knives,

  whereas a different provision allowed for open carrying of named weapons,

  including Bowie knives, but failed to include pistols on that list. Noting the “great

  vagueness” in the statute’s wording, the court reversed the man’s conviction and

  affirmed the constitutionality of open carry “for the important end to be attained:

  the rearing up and qualifying a well-regulated militia, so vitally necessary to the

  security of a free State.” The court also upheld the constitutionality of the

  concealed carry restrictions. It did not single out or offer any specific comment on

  Bowie knives, beyond noting in passing that the Georgia law in question was

  enacted “to guard and protect the citizens of the State against the unwarrantable and

  too prevalent use of deadly weapons.”166


  163
      Paul Kirchner, Bowie Knife Fights, Fighters, and Fighting Techniques (Boulder,
  CO: Paladin Press, 2010), 43.
  164
      Nunn v. State, 1 Ga. 243 (1846) .
  165
      Cockrum v. State, 24 Tex. 394 (1859).
  166
      Nunn v. State, 246. Italics in original.
                                             59
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        70.    The Cockrum case involved John Cockrum, who was charged with the

  murder of his brother-in-law, William Self, with a Bowie knife. 167 Under Texas

  law, “a homicide, which would otherwise be a case of manslaughter, if committed

  with a bowie-knife or dagger, shall be deemed murder and punished as such. . . .” 168

  The court upheld the added penalty provision of the law relating to use of a Bowie

  knife, despite the court’s very expansive interpretation of the right to bear arms, but

  reversed and remanded the man’s conviction because of an error related to statutory

  changes and jury instructions. It described Bowie knives as “an exceeding

  destructive weapon,” an “instrument of almost certain death,” and “the most deadly

  of all weapons in common use.”169 Further, the court said: “He who carries such a

  weapon. . .makes himself more dangerous to the rights of others, considering the

  frailties of human nature, than if he carried a less dangerous weapon.”170

        71.    All of these cases underscore the courts’ recognition of the dangerous

  nature and nefarious use of Bowie knives not only by their characterizations of

  them, but by the fact that they are treated in the same restrictive and prohibitory

  167
      https://www.genealogy.com/ftm/p/i/l/Karen-Pilgrim-TX/WEBSITE-0001/UHP-
  0254.html.
  168
      Cockrum v. State, 394.
  169
      Cockrum v. State, 403–04. Kopel says, incorrectly, that “Bowie knives. . . were
  regulated the same as a butcher's knife.” According to the Duke Center for Firearms
  Law Repository of Historical Gun Laws
  (https://firearmslaw.duke.edu/repository/search-the-repository/) six states had laws
  that restricted butcher knives by name, whereas 42 states restricted Bowie knives by
  name. See Exhibits C and E. Kopel, “Bowie knife statutes 1837-1899.”
  170
      Cockrum v. State, 403.
                                            60
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  manner in law as other dangerous, deadly weapons including pistols and various

  named clubs. 171

        72.    The ubiquity of the concern about the criminological consequences of

  carrying Bowie knives and other, similar long-bladed knives is seen in the

  widespread adoption of laws barring or restricting these weapons. 172 In the 1830s,

  at least six states enacted laws barring the carrying of Bowie knives by name.173

  From then to the start of the twentieth century, every state plus the District of

  Columbia (with the sole exception of New Hampshire) restricted Bowie knives: a


  171
      Among the notorious incidents attached to the Bowie knife was its use by two of
  the conspirators in the Lincoln assassination in 1865. The plan was to assassinate
  President Lincoln, Vice President Andrew Johnson, and Secretary of State William
  Seward. The man assigned to attack Seward, Lewis Powell, entered the Seward
  home armed with a pistol and a Bowie knife. When one of Seward’s sons tried to
  stop him, Powell tried to shoot him, but his gun misfired, so he used it as a club
  against the son. When he encountered another son, Powell slashed him with his
  Bowie knife, the weapon he then used to attack Seward who, thanks to a neck
  collar, survived. David Morgan, “Lincoln assassination: The other murder attempt,”
  CBS News, May 10, 2015, https://www.cbsnews.com/news/lincoln-assassination-
  the-other-murder-attempt/; https://www.history.com/topics/american-civil-
  war/william-seward. John Wilkes Booth also carried what was later identified as a
  Bowie knife which he used to slash the man who accompanied Lincoln to the
  theater and who tried to stop Booth after he shot the president. Booth slashed the
  man in the arm with his knife to make his escape.
  https://lincolnconspirators.com/2018/12/31/cloak-and-daggers-cutting-through-the-
  confusion-of-the-assassination-knives/
  172
      The near-immediate effort in the states to restrict Bowie knives was noted, for
  example, in Davis, Three Roads to the Alamo, 582, and in Flayderman, The Bowie
  Knife, 53–54.
  173
      A seventh state, Massachusetts, criminalized the carrying of fighting knives
  using labels that would have included the Bowie knife in an 1836 law. See Exhibit
  H.
                                            61
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  total of at least 42 states (including the District of Columbia) barred or restricted

  Bowie knives by name; and another 8 states enacted laws barring the category or

  type of knife embodied by the Bowie knife but without mentioning them by name

  (see Exhibits C, E, and H) totaling 49 states plus the District of Columbia. 174

  Several states banned the possession of Bowie knives outright, and others imposed

  taxes on the ability for individuals to acquire or possess them (see Exhibit H). The

  desirability and utility of concealed-carry restrictions were precisely that they

  pushed dangerous weapons out of public spaces and places, improving public safety

  through the deterrent and punishment effects of such laws, and also discouraging

  the settlement of private grievances and disputes in public through weapons-fueled

  violence.

        73.    States relied on a variety of regulatory techniques to suppress Bowie

  knife carrying: 29 states enacted laws to bar their concealed carry; 15 states barred

  their carry whether concealed or openly; 7 states enacted enhanced criminal

  penalties for those who used the knives to commit a crime; 4 states enacted

  regulatory taxes attached to their commercial sale; 3 states imposed a tax for those

  who owned the knives; 10 states barred their sale to specified groups of people; and

  4 states enacted penalties for brandishing the knives (see Exhibit H).


  174
     Bowie law enactment by decade: 1830s: 6 states; 1840s: 4 states; 1850s: 11
  states; 1860s: 13 states; 1870s: 19 states; 1880s: 20 states; 1890s: 21 states; 1900s:
  13 states. See Exhibits C and E.
                                             62
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        74.    The extensive and ubiquitous nature of these Bowie knife prohibitions

  raises a further question: given the universal agreement that these knives were

  dangerous, why not simply ban their possession outright? The answer is two-fold.

  First, America was a developing nation-state in the nineteenth century. The federal

  and state governments did not yet possess the maturity, powers, tools, or resources

  to enact, much less implement, any measure as sweeping as a knife ban, especially

  since knives are technologically very simple to produce. After all, the front-line

  administrative entity on which we today relay for law enforcement, the police,

  barely existed (in the way we think of policing today) in the early nineteenth

  century (up to this time policing fell to a haphazard mix of the watch system,

  constables, militias, and vigilantes). Modern police forces only came in to being in

  a handful of large cities before the Civil War. 175 Second, the chief remedy enacted

  by the states to address the problem of knife fighting was far more focused and

  feasible: to bar the carrying of knives, along with the other two categories of

  weapons that also threatened public safety, clubs and pistols. The fact that all three

  types of weapons were consistently treated together is conclusive evidence that all


  175
     Chris McNab, Deadly Force (Oxford, Great Britain: Osprey Publishing, 2009),
  13-24. Boston created a police force in 1838, New York City created a standing
  police force in 1845, followed by Chicago in 1851, Philadelphia in 1854, and
  Baltimore in 1857 (23). Jill Lepore, “The Invention of the Police,” The New Yorker,
  July 13, 2020, https://www.newyorker.com/magazine/2020/07/20/the-invention-of-
  the-police. Both McNab and Lepore emphasize the role of slavery and slave
  suppression as key to the development of policing.
                                            63
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  were considered so dangerous and inimical to public safety that subject to anti-carry

  laws and bundled together in legislative enactments.

        B.     Historical Restrictions on Clubs and Other Blunt Weapons
        75.    Among the most widely and ubiquitously regulated harmful

  implements in U.S. history were various types of clubs and other blunt weapons.

  (See Exhibits C and E.) Most were anti-carry laws, which also generally

  encompassed pistols and specific types of knives, although some of the laws

  extended prohibitions to these weapons’ manufacture, possession, sale, or use in

  crime.176 As the table in Exhibit C shows, at least six distinct types of clubs and

  blunt objects were regulated in the United States. Notably, every state in the nation

  had laws restricting one or more types of clubs. According to a detailed reference

  book on the subject of these blunt instruments by Robert Escobar, they were

  considered “objectionable objects, once feared but now forgotten.”177 Escobar

  provides what he calls “a family history” of these blunt weapons, but adding that

  “[i]t’s a disreputable family to say the least, black sheep even within the study of

  weaponry.”178 They have been described as “wicked, cowardly, ‘Soaked in blood

  and cured in whiskey.’” 179 Those who carried them (excluding police) “were called


  176
      E.g. see 1917 Cal. Sess. Laws 221-225; 1923 Cal. Stat. 695.
  177
      Robert Escobar, Saps, Blackjacks and Slungshots: A History of Forgotten
  Weapons (Columbus, OH: Gatekeeper Press, 2018), 1.
  178
      Escobar, Saps, Blackjacks and Slungshots, 2.
  179
      Escobar, Saps, Blackjacks and Slungshots, 2.
                                            64
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  vicious, devils and lurking highwaymen.”180 These club-type blunt objects

  compose a family of objects used for striking others, and while they vary in name

  and construction, the categories are “somewhat fluid.” 181

        76.    Among the six types of clubs regulated in U.S. laws, 15 states barred

  bludgeon carrying. A bludgeon is a short stick with a thickened or weighted end

  used as a weapon. 182 The earliest state anti-bludgeon law was in 1799; 12 such state

  laws were enacted in the 1700s and 1800s, and 4 in the early 1900s (as with each of

  these chronological categories, the state law total exceeds the total number of states

  because some states enacted the same or similar laws in multiple centuries).

        77.    A billy (sometimes spelled billie) club is a heavy, hand-held rigid

  club,183 usually made of wood, plastic, or metal, 184 that is traditionally carried by

  police, often called a nightstick or baton.185 Escobar cites an early reference to the

  billy club in an 1854 New Orleans newspaper article in the Daily True Delta that

  180
      Escobar, Saps, Blackjacks and Slungshots, 2.
  181
      Escobar, Saps, Blackjacks and Slungshots, 1.
  182
      https://www.merriam-webster.com/dictionary/bludgeon.
  183
      Some versions were made to have some flexibility to increase their striking
  power. See Escobar, Saps, Blackjacks and Slungshots, 118-19.
  184
      https://www.merriam-webster.com/dictionary/billy%20club. Escobar discusses a
  Civil War veteran and later police officer, Edward D. Bean, who experimented with
  various types of billy clubs to improve their striking power and durability by
  utilizing leather, often adhered to wood, to reduce the likelihood that the club would
  break on use. Saps, Blackjacks and Slungshots, 118. One of the earliest references
  to a “billy” was an 1857 newspaper article describing “an indiscriminate attack with
  slung-shot, billies, clubs, &c.” “Local Intelligence,” Delaware Republican, June
  15, 1857, https://bit.ly/3V9nVO7.
  185
      Escobar, Saps, Blackjacks and Slungshots, 2, 69-70, 105, 113-30.
                                             65
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  referred to “police armed with batons,”186 a synonym for a billy club. As this

  reference suggests, police have long adopted the billy club, or similar striking

  implements, as part of their on-duty weaponry. At least 16 states had anti-billy club

  laws, totaling 46 laws; the earliest law appears to have been enacted in Kansas in

  1862, 187 followed by a New York law in 1866. 188 Fourteen states enacted such laws

  in the 1800s; 11 states did so in the early 1900s.

        78.    At least 14 states barred the carrying of “clubs” more generically,

  without specifying the type. The oldest anti-club law was 1664; 7 states enacted

  these laws in the 1600s-1700s, 7 states in the 1800s, and 2 in the early 1900s.

        79.    Anti-slungshot laws were enacted by 43 states, with 71 laws enacted in

  the 1800s and 12 in the 1900s. A slungshot (or slung shot), also referred to as “a

  type of blackjack,” 189 is a hand-held weapon for striking that has a piece of metal or

  stone at one end attached to a flexible strap or handle that was developed roughly in


  186
      Escobar, Saps, Blackjacks and Slungshots, 105.
  187
      C. B. Pierce, Charter and Ordinances of the City of Leavenworth, with an
  Appendix Page 45, Image 45 (1863) available at The Making of Modern Law:
  Primary Sources, 1862.
  188
      Montgomery Hunt Throop, The Revised Statutes of the State of New York; As
  Altered by Subsequent Legislation; Together with the Other Statutory Provisions of
  a General and Permanent Nature Now in Force, Passed from the Year 1778 to the
  Close of the Session of the Legislature of 1881, Arranged in Connection with the
  Same or kindred Subjects in the Revised Statutes; To Which are Added References
  to Judicial Decisions upon the Provisions Contained in the Text, Explanatory Notes,
  and a Full and Complete Index Page 2512, Image 677 (Vol. 3, 1882) available at
  The Making of Modern Law: Primary Sources, 1866.
  189
      Escobar, Saps, Blackjacks and Slungshots, 228.
                                            66
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  the 1840s (the first “known use” of slungshot was 1842 190). By one account,

  “[s]lungshots were widely used by criminals and street gang members in the 19th

  Century. They had the advantage of being easy to make, silent, and very effective,

  particularly against an unsuspecting opponent. This gave them a dubious

  reputation, similar to that carried by switchblade knives in the 1950s, and they were

  outlawed in many jurisdictions. The use as a criminal weapon continued at least up

  until the early 1920s.” 191 Escobar concurs that slungshots and blackjacks “were a

  regular part of criminal weaponry. . .and gangsters could be merciless in their

  use.” 192

         80.   In a criminal case considered the most famous of those involving

  lawyer Abraham Lincoln, the future president defended a man charged with

  murdering another using a slung shot. In the 1858 trial of William “Duff”

  Armstrong, Lincoln succeeded in winning Armstrong’s acquittal. 193\

         81.   These weapons were viewed as especially dangerous or harmful when

  they emerged in society, given the ubiquity of state laws against carrying them

  190
      See https://www.merriam-webster.com/dictionary/slungshot Escobar agrees with
  this rough date. See Saps, Blackjacks and Slungshots, 67.
  191
      “Slungshot,” https://military-history.fandom.com/wiki/Slungshot.
  192
      Escobar, Saps, Blackjacks and Slungshots, 86.
  193
      Lincoln was able to discredit the testimony of a witness who claimed to see
  Armstrong strike the victim with a slung shot at night because of the full moon.
  Lincoln used as evidence an Almanac to prove that on the night in question, there
  was no full moon. Judson Hale, “When Lincoln Famously Used the Almanac,”
  Almanac, May 4, 2022, https://www.almanac.com/abraham-lincoln-almanac-and-
  murder-trial.
                                           67
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  enacted after their invention and their spreading use by criminals and as fighting

  implements. These devices were invented and appeared in society during an

  identifiable period of time in the mid-nineteenth century, sparking subsequent wide-

  ranging prohibitions. The earliest anti-slungshot law was enacted in 1850; 43 states

  legislated against them in the 1800s (including the District of Columbia), and 11

  states in the early 1900s (note this incorporates multiple laws enacted in more than

  one century by a few states).

        82.    Sandbags, also known as sand clubs, were also a specific focus in anti-

  carry laws as well. Consisting of nothing more than sand poured into a bag, sack,

  sock, or similar tube-shaped fabric (although the weight could also be something

  dense and heavy, like a lock in the end of a sock),194 their particular appeal was that

  they could be dispensed with by simply pouring the sand out, leaving nothing more

  than an empty cloth bag. (Alternately, they could be made heavier by adding water

  to the sand.) The first anti-sandbag law was 1866, with 10 states enacting such

  laws—7 in the 1800s and 7 in the early 1900s. Only 4 states did not have any

  prohibitions in any of these six categories, but 3 of those 4 (Montana, Ohio, and

  Washington State) had blanket legislative provisions against the carrying of any

  concealed/dangerous/deadly weapons. One state, New Hampshire, may not have


  194
     https://www.ferrislawnv.com/criminal-defense/weapons-offenses/dangerous-
  weapons/; Escobar, Saps, Blackjacks and Slungshots, 20-22. Escobar dates the
  earliest reference to sandbags as weapons to the 1600s (22).
                                            68
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  enacted such a law during this time but did at some point. 195

        C.     Historical Restrictions on Pistol and Gun Carrying
        83.    Carry restriction laws were widely enacted from the 1600s through the

  start of the twentieth century, spanning over three centuries. As early as 1686, New

  Jersey enacted a law against wearing weapons because they induced “great Fear and

  Quarrels.” Massachusetts followed in 1751. In the late 1700s, North Carolina and

  Virginia passed similar laws. In the 1800s, as interpersonal violence and gun

  carrying spread, forty-three states joined the list; three more did so in the early

  1900s (see Exhibit B). 196 The enactment of laws restricting concealed weapons

  carrying followed the rise of homicides and interpersonal violence described by

  historian Randolph Roth who notes that “firearms restrictions on colonists from the

  end of the seventeenth century to the eve of the Revolution” were few because

  “homicide rates were low among colonists and firearms were seldom used in

  homicides among colonists when they did occur.”197 Thereafter, many states


  195
      Up to 2010, New Hampshire had this law on the books: “159:16 Carrying or
  Selling Weapons. Whoever, except as provided by the laws of this state, sells, has
  in his possession with intent to sell, or carries on his person any stiletto, switch
  knife, blackjack, dagger, dirk-knife, slung shot, or metallic knuckles shall be guilty
  of a misdemeanor; and such weapon or articles so carried by him shall be
  confiscated to the use of the state.” In 2010, the law was amended when it enacted
  HB 1665 to exclude stilettos, switch knives, daggers, and dirk-knives. Compare
  N.H. Rev. Stat. § 159:16 with 2010 New Hampshire Laws Ch. 67 (H.B. 1665).
  196
      Spitzer, “Gun Law History in the United States and Second Amendment Rights,”
  63-67.
  197
      Declaration of Randolph Roth, Ocean State Tactical v. Rhode Island, Case 1:22-
                                             69
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  enacted “laws restricting the use or ownership of concealable weapons in slave and

  frontier states, where homicide rates among persons of European ancestry soared

  after the Revolution in large part because of the increased manufacture and

  ownership of concealable percussion cap pistols and fighting knives.” 198 Concealed

  carry laws normally targeted pistols as well as the types of fighting knives and

  various types of clubs discussed here (see Exhibit E for text of such laws). In

  addition, at least three-fourths of the states enacted laws that penalized public

  weapons brandishing or display. At least four states did so in the 1600s, two in the

  1700s, twenty-eight states in the 1800s, and two more in the early 1900s.199 As of

  1938, “the carrying of concealed pistols is either prohibited absolutely or permitted

  only with a license in every state but two.”200

        D. Historical Restrictions on Trap Guns
        84.    Not to be confused with firearms used in trapshooting, trap guns were

  devices or contraptions rigged in such a way as to fire when the owner need not be

  present. Typically, trap guns could be set to fire remotely (without the user being

  present to operate the firearm) by rigging the firearm to be fired with a string or




  cv-00246-JJM-PAS, Filed 10/14/22, 2. Roth is the author of American Homicide.
  198
      Declaration of Randolph Roth, 2.
  199
      Spitzer, The Gun Dilemma, 77-80.
  200
      Sam B. Warner, “The Uniform Pistol Act,” Journal of Criminal Law and
  Criminology 29 (Winter 1938): 530.
                                            70
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  wire which then discharged when tripped.201 This early law from New Jersey in

  1771 both defines and summarizes the problem addressed by this law:

        Whereas a most dangerous Method of setting Guns has too much prevailed in
        this Province, Be it Enacted by the Authority aforesaid, That if any Person or
        Persons within this Colony shall presume to set any loaded Gun in such
        Manner as that the same shall be intended to go off or discharge itself, or be
        discharged by any String, Rope, or other Contrivance, such Person or Persons
        shall forfeit and pay the Sum of Six Pounds; and on Non-payment thereof
        shall be committed to the common Gaol of the County for Six Months.202

        85.    Also sometimes referred to as “infernal machines,”203 the term trap gun

  came to encompass other kinds of traps designed to harm or kill those who might

  encounter them, including for purposes of defending property from intruders.

  Unlike the other weapons restrictions examined here, opinion was more divided on

  the relative merits or wisdom of setting such devices, with some arguing that thieves

  or criminals hurt or killed by the devices had it coming, 204 though the weight of

  opinion seemed mostly against such devices because of the likelihood that innocent

  201
      See Spitzer, “Gun Law History in the United States and Second Amendment
  Rights,” 67.
  202
      1763-1775 N.J. Laws 346, An Act for the Preservation of Deer and Other Game,
  and to Prevent Trespassing with Guns, ch. 539, § 10.
  203
      E.g. 1901 Utah Laws 97-98, An Act Defining an Infernal Machine, and
  Prescribing Penalties for the Construction or Contrivance of the Same, or Having
  Such Machine in Possession, or Delivering Such Machine to Any Person . . . , ch.
  96, §§ 1-3.
  204
      For example, this small item appeared in the Bangor (Maine) Daily Whig on
  October 27, 1870: “A burglar while attempting to break into a shop in New York,
  Monday night, had the top of his head blown off by a trap-gun so placed that it
  would be discharged by any one tampering with the window. A few such
  ‘accidents’ are needed to teach the thieves who have lately been operating in this
  city, a lesson.”
                                            71
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  persons could be injured or killed, and also because such devices represented an

  arbitrary and excessive meting out of private, vigilante-type “justice.”205 Those who

  set gun traps typically did so to defend their places of business, properties, or

  possessions. This 1870 newspaper account from an incident in New York City

  provides an example where a burglar was killed by a gun-trap set by a shopkeeper,

  who was then prosecuted: “As there is a statute against the use of such infernal

  machines, which might cause loss of life to some innocent person, the jury censured

  Agostino.” After the verdict the man continued to be held under $2,000 bail. 206

        86.    Inevitably, however, the traps wound up hurting or killing innocents,

  even including the person who set the trap. For example, this 1891 newspaper

  account from Chillicothe, Missouri illustrated the problem: “George Dowell, a

  young farmer, was fined $50 under an old law for setting a trap-gun. Dowell set the

  gun in his corn-crib to catch a thief, but his wife was the first person to visit the crib

  and on opening the door was shot dead.”207

        87.    In all, at least 16 states had anti-trap gun laws (see Exhibits B and F).

  The earliest such law encountered was the 1771 New Jersey law (above). Nine laws

  205
      This is my observation based on my reading of historic newspaper accounts from
  the late 1800s, and from the number of anti-trap gun laws enacted. As policing
  became more consistent, professional, and reliable, support for vigilante-type
  actions like setting trap guns seems to have declined.
  206
      . “The Man Trap,” The Buffalo Commercial, November 1, 1870; from the N.Y.
  Standard, October 29, 1870, https://bit.ly/3yUSGNF. See Exhibit G.
  207
      “Shot by a Trap-Gun,” South Bend Tribune, February 11, 1891,
  https://bit.ly/3CtZsfk. See Exhibit G.
                                             72
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  were enacted in the 1700s-1800s, and 9 in the early 1900s (counting states that

  enacted multiple laws across the centuries).

        E.     Recent Developments
         88.     A profound change in firepower occurred in the U.S. in the 1980s, when

  semi-automatic handguns, and a new generation of more expensive and more deadly

  guns, entered the criminal market.208 According to criminologists Alfred Blumstein

  and Richard Rosenfeld, writing in the 1990s about the period from 1985-1993 and the

  dramatic rise in gun crime and homicides during that period, “[o]ver the last decade

  the weapons involved in settling juveniles' disputes have changed dramatically from

  fists or knives to handguns, with their much greater lethality.” 209 More specifically,

  Blumstein attributed this deadly crime spike in the 1980s to “the advent of crack

  cocaine, semiautomatic handguns and gangs” which “sparked the surge in killings by

  teen-agers.” 210 Blumstein noted that “[b]eginning in 1985, there was steady growth


  208
      The prevailing crime handguns of the 1970s and early 1980s were so-called
  “Saturday night specials,” cheap, smaller caliber, short-barreled, easily concealable
  revolvers that accounted for much gun crime. “Hot Guns,” Frontline, PBS, aired
  June 3, 1997,
  https://www.pbs.org/wgbh/pages/frontline/shows/guns/etc/script.html; see also
  Interview with Garen Wintemute, “Hot Guns,” PBS,
  https://www.pbs.org/wgbh/pages/frontline/shows/guns/interviews/wintemute.html.
  209
      Alfred Blumstein and Richard Rosenfeld, “Explaining Recent Trends in U.S.
  Homicide Rates,” Journal of Criminal Law and Criminology 4 (Summer 1998):
  1191,
  https://scholarlycommons.law.northwestern.edu/cgi/viewcontent.cgi?article=6976&
  context=jclc
  210
      Fox Butterfield, “Guns Blamed for Rise in Homicides by Youths in 80's,” New
                                            73
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  in the use of guns by juveniles in committing murder, leading to a doubling in the

  number of juvenile murders committed with guns, with no shift in the number of non-

  gun homicides.”211 The perpetrators “are less likely to exercise the restraint

  necessary to handle dangerous weapons, particularly rapid-fire assault weapons.”212

         89.    This shift to greater firepower is consistent with the fact that “from

  1973 to 1993, the types of handguns most frequently produced” were “pistols rather

  than revolvers. Pistol production grew from 28% of the handguns produced in the

  United States in 1973 to 80% in 1993.” 213 Pistols “generally contain cartridges in a

  magazine located in the grip of the gun. When the semiautomatic pistol is fired, the

  spent cartridge that contained the bullet and propellant is ejected, the firing

  mechanism is cocked, and a new cartridge is chambered”214 whereas a revolver is

  defined as a “handgun that contains its ammunition in a revolving cylinder that

  typically holds five to nine cartridges. . . .” 215

         90.    In testimony before Congress on what became the assault weapons ban

  of 1994, law enforcement representatives discussed the rise in criminal firepower

  York Times, December 10, 1998, https://www.nytimes.com/1998/12/10/us/guns-
  blamed-for-rise-in-homicides-by-youths-in-80-s.html.
  211
      Alfred Blumstein, “Violence by Young People: Why the Deadly Nexus?”
  National Institute of Justice Journal, August 1995, 5,
  https://www.ojp.gov/pdffiles/nijj_229.pdf.
  212
      Blumstein, “Violence by Young People,” 5.
  213
      Marianne W. Zawitz, “Guns Used in Crime,” Bureau of Justice Statistics, July
  1995, 3, https://bjs.ojp.gov/content/pub/pdf/GUIC.PDF.
  214
      Zawitz, “Guns Used in Crime,” 2.
  215
      Zawitz, “Guns Used in Crime,” 2.
                                                74
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  they witnessed in the 1980s. For example, the executive vice president of the

  National Association of Police Organizations, Tony Loizzo, offered this testimony:

        In the past, we used to face criminals armed with a cheap Saturday Night
        Special that could fire off six rounds before loading. Now it is not at all
        unusual for a cop to look down the barrel of a TEC–9 with a 32 round clip.
        The ready availability of and easy access to assault weapons by criminals has
        increased. . . dramatically. . . . The six-shot .38 caliber service revolver,
        standard law enforcement issue for years, it just no match against a criminal
        armed with a semi-automatic assault weapon.216
        91. John Pitta, executive vice president of the Federal Law Enforcement

  Officers Association testified similarly with respect to the 1994 bill: “[t]he TEC–9

  assault pistol is the undisputed favorite of drug traffickers, gang members and

  violent criminals. Cities across the country confiscate more TEC–9s than any other

  assault pistol.”217 The ultimate result was congressional enactment of a ten year

  restriction on assault weapons and also on ammunition magazines capable of

  holding more than ten rounds. 218




  216
      H.R. REP. 103-489, H.R. Rep. No. 489, 103RD Cong., 2ND Sess. 1994, 1994
  WL 168883, 1994 U.S.C.C.A.N. 1820 (Leg.Hist.), Violent Crime Control and Law
  Enforcement Act Of 1994, 32.
  217
      H.R. REP. 103-489, H.R. Rep. No. 489, 32.
  218
      Spitzer, The Politics of Gun Control, 205-11.
                                           75
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